Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 1 of 36




            EXHIBIT A-53
Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 2 of 36




                                                      Oct 11 2022 11:04am




                 Date: October 6, 2022

              Case: In Re: Jeffrey B. Clark




                                                 Ace-Federal Reporters, Inc.
                                                       Phone: 202-347-3700
                                                          Fax: 202-737-3638
                                                 Email: info@acefederal.com
                                              Internet: www.acefederal.com
    Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 3 of 36
                               In Re: Jeffrey B. Clark
                                   October 6, 2022



                 The Board on Professional Responsibility
                                         Pre-Hearing
         In re Jeffrey B. Clark, Board DNo. 22-BD-039 /
         Disciplinary DNo. 2021-D193
                                                ZOOM
                      Thursday, October 6, 2022 9:30 AM
         PARTICIPANTS
         Hearing Committee Number Twelve
         Merril Hirsh, Esquire
         Chair


         Hamilton P. Fox, III, Esquire
         Disciplinary Counsel
         Jason R. Horrell, Esquire
         Assistant Disciplinary Counsel


         Charles Burnham, Esquire
         Harry W. MacDougald, Esquire
         Robert A. Destro, Esquire
         Respondent's Counsel
         Jeffrey B. Clark, Esquire
         Respondent

                                                                        Page 1


202-347-3700                 Ace-Federal Reporters, Inc.              866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 4 of 36
                                                         In Re: Jeffrey B. Clark
                                                             October 6, 2022

                                                         Page 2                                                              Page 4
   1               PROCEEDINGS                                         1    hear people more clearly.
   2                      (9:32 a.m.)                                  2           And now what I will do is swear in the
   3            CHAIR HIRSH: Good morning.                             3    Court Reporter. Mr. Catherine, do you solemnly -- do
   4            MR. MacDOUGALD: Good morning, sir.                     4    you want "swear" or "affirm"?
   5            CHAIR HIRSH: Good morning. Just give me                5              COURT REPORTER: Affirm.
   6     one second. There's one piece of paper that I                 6              CHAIR HIRSH: Affirm? Okay. Do you
   7     actually wanted to look for --                                7    solemnly affirm that you will faithfully and
   8            MR. MacDOUGALD: I never have that                      8    accurately report the present proceeding to the best
   9     problem, sir.                                                 9    of your ability as directed by the Presiding Officer
  10            CHAIR HIRSH: No one else ever has this                10    herein?
  11     problem. Just give me one second.                            11              COURT REPORTER: I do.
  12            Thank you very much everybody. Before we              12              CHAIR HIRSH: Thank you very much, Mr.
  13     swear in the Court Reporter and take appearances, I          13    Catherine.
  14     just wanted to just introduce the proceeding.                14          Okay, now could counsel please make their
  15            This is Board Number 22-BD-039, in re                 15    appearances on the record.
  16     Jeffrey B. Clark. This matter is before a Hearing            16          MR. FOX: I am Hamilton Fox and Jason
  17     Committee pursuant to Rule 11 of the District of             17    Horrell for the Office of the Disciplinary Counsel.
  18     Columbia Court of Appeals governing the District of          18    And let me just apologize. For about 30 minutes
  19     Columbia.                                                    19    every morning I get this flow of sunlight into the
  20            I am Merril Hirsh. I am the Chair of                  20    window which makes it a little difficult for me to
  21     Hearing Committee 12. And the purpose of this                21    see the screen, and probably a little difficult for
  22     prehearing conference is to clarify issues, to               22    you to see me. I think it will go away in a few


                                                         Page 3                                                              Page 5
   1     determine whether the parties can agree to                    1    minutes.
   2     stipulations, or at least talk about it; set dates            2             CHAIR HIRSH; Okay, well it's the first sun
   3     for the exchange of evidence and witness lists -- we          3    we've seen in a week, so -- (Laughing).
   4     need to do that; and determine the length of the              4             Welcome. Good morning. And for the --
   5     hearing and schedule the hearing.                             5             MR. MacDOUGALD: I am Harry MacDougald
   6            Before we begin, I will note that the                  6    for the Respondent Jeffrey Clark.
   7     COVID-19 pandemic has required the disciplinary               7             MR. BURNHAM: Charles Burnham, appearing as
   8     system to make many adjustments to ensure that cases          8    well for Mr. Clark. Good morning, everyone.
   9     can continue to move forward without in-person                9             MR. DESTRO: Robert Destro, appearing also
  10     appearances.                                                 10    for Mr. Clark. Good morning, everyone.
  11            Specifically, the disciplinary system has             11             And Mr. Clark is here, as well, sir.
  12     had to modify how it conducts these hearings vis             12             CHAIR HIRSH: Good morning, Mr. Clark.
  13     video conference which we will live stream for public        13             RESPONDENT CLARK: Good morning, Your
  14     access through YouTube.                                      14    Honor.
  15           The Board staff has made every effort to               15             CHAIR HIRSH: It's flattering to be called
  16     make this hearing run smoothly, but we know that             16    "Your Honor." I actually don't even play a judge on
  17     there still may be some inevitable glitches with             17    TV.
  18     technology that may arise. So we may need to                 18             RESPONDENT CLARK: Good morning, Chair
  19     exercise patience.                                           19    Hirsh.
  20            I will also ask the parties to put                    20             CHAIR HIRSH: Thank you very much.
  21     yourselves on mute when you are not speaking, which          21             MR. MacDOUGALD: I've been wondering how to
  22     will help to minimize the feedback and allow us to           22    address the Chairman, because for 37 years it's been


                                                                                                             2 (Pages 2 to 5)
202-347-3700                                          Ace-Federal Reporters, Inc.                                           866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 5 of 36
                                                            In Re: Jeffrey B. Clark
                                                                October 6, 2022

                                                            Page 6                                                              Page 8
   1     "Your Honor" every time, and I may -- I may fall back            1    and without exception. So we think there is a fair
   2     into that.                                                       2    question of whether the Board's rules and the
   3             CHAIR HIRSH: Yeah, it's a habit that                     3    interpretation of those rules controls over two
   4     lawyers learn, and it's not a bad habit. If you need             4    Supreme Court decisions and the decision of the D.C.
   5     to say something, say "Your Honor," and I understand.            5    Court of Appeals, or whether subject matter
   6     "Mr. Hirsh," "Chairman," those are both fine, but I              6    jurisdiction has to be decided first.
   7     appreciate it.                                                   7            So again, with all respect, and I don't
   8             Alright, I discussed what we are going to                8    want to argue with the Chairman about something that
   9     be discussing today, but I am going to kind of take              9    has already been ruled on, but we do think there is a
  10     in reverse order. I would like to start with                    10    fair issue here. And we think it has to be addressed
  11     discussing the hearing, when it is going to be, how             11    before the merits.
  12     long it is going to be. So why don't we start with              12            So we don't think this Board or the
  13     that.                                                           13    Committees get many subject matter jurisdictions that
  14             Either one can really start first. First                14    are structured as ours has been. It appears the
  15     of all, are there any preliminary matters you want to           15    rules do not contemplate such challenges, because
  16     discuss before we get to that?                                  16    the rules carry motions to dismiss with the merits
  17             MR. MacDOUGALD: Yeah, for us there is,                  17    hearing, which is not what the Supreme Court said has
  18     Your Honor. And in the papers that were filed on                18    to be done.
  19     Monday, we described the question of whether subject            19            And that Supreme Court Rule applies to
  20     matter jurisdiction is a threshold issue that has to            20    federal courts. And at the end of the day, this is a
  21     be decided first.                                               21    federal court, or at least it's an agency of a
  22             We understand of course that the Chair has              22    federal court.


                                                            Page 7                                                              Page 9
   1     ruled on that; that it doesn't have authority under              1            So recognizing the constraints that the
   2     the Rules of the Board, and the decisions of the                 2    Chair is operating under, and the decisions of the
   3     Court of Appeals to take that question up. But at                3    Court of Appeals, we wanted to let you know that we
   4     the same time, there is higher law that we cited in              4    are considering our options for seeking judicial
   5     the filing on Monday to the effect that subject                  5    review on the subject matter jurisdiction question.
   6     matter jurisdiction challenges like the one that we              6    And we asked -- before the case is heard on the
   7     have made have to be decided first as a threshold                7    merits -- we asked Mr. Fox's position on that, and
   8     question before deciding the merits.                             8    he's opposed to that. So we know where he stands.
   9             But essentially the interpretation of the                9            But we wanted to put it before the
  10     Board's rules that has been applied is that the                 10    Chairman and ask if the Chair had a position on
  11     Committee and the board are required to                         11    whether it makes sense to have judicial review of the
  12     hypothetically assume subject matter jurisdiction and           12    subject matter jurisdiction question before a hearing
  13     then decide the merits of the case.                             13    on the merits. Not a recommendation on the merits,
  14             But the Supreme Court of the United States              14    but a recommendation on whether it ought to be heard.
  15     in the Steel Company versus Citizens for A Better               15    And that could be done, for instance, by the Chair
  16     Environment case that we filed and cited in the                 16    recommending that the issue be given judicial review,
  17     papers filed on Monday expressly forbids                        17    for example, in a mandamus petition that we might
  18     hypothetically assuming subject matter jurisdiction             18    file.
  19     in order to decide the merits.                                  19            We are not asking you to take a position
  20             And it says doing so without subject                    20    on how that ought to be decided, just whether it
  21     matter jurisdiction is by definition ultra vires.               21    ought to be taken up and considered before a hearing
  22     And it says that rule has to be applied inflexibly              22    on the merits, in light of the authorities that we


                                                                                                             3 (Pages 6 to 9)
202-347-3700                                          Ace-Federal Reporters, Inc.                                            866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 6 of 36
                                                             In Re: Jeffrey B. Clark
                                                                 October 6, 2022

                                                        Page 10                                                                 Page 12
   1     have cited.                                                       1           CHAIR HIRSH: Okay. No, I understand
   2              The Board would be able to take its own                  2    that, too. Alright, any other preliminary matters?
   3     position. Mr. Fox and ODC would take their position,              3           MR. MacDOUGALD: There is one more, Your
   4     arguing against it, but we do think that you would                4    Honor, and that is -- and this again comes back to
   5     have the authority to make a recommendation about                 5    the topic of deferral -- when we originally requested
   6     whether it ought to be heard, without taking a                    6    deferral, we made reference to, at some point the
   7     position on how it ought to come out.                             7    January 6th Committee would be finished, and they
   8              And so we would respectfully ask if the                  8    would release a report, and their full deposition
   9     Chair has a response or a position on that?                       9    transcripts. And we didn't know, of course, when
  10              CHAIR HIRSH: My response is, if you want                10    that was going to happen exactly.
  11     to seek judicial review of our jurisdiction, it's up             11           We now understand from press reports that
  12     to you. I am not going to take a position and say                12    they are going to release their final report before
  13     you ought to seek judicial review.                               13    the election. And based on their prior statements,
  14              I also just note that in addition to not                14    that would also involve a release of the full
  15     deciding, but discussing for purposes of your motion             15    deposition transcripts. And undoubtedly, we are
  16     deferral, some of the arguments that you're making on            16    going to learn things that are relevant and material
  17     the jurisdictional point, which I understand what I              17    to this proceeding, for reasons that we explained
  18     am supposed to do as part of my report and                       18    when we originally moved for a deferral.
  19     recommendation on that motion. Since that time the               19           And one of the reasons deferral was denied
  20     D.C. Court of Appeals ruled in a subpoena matter that            20    was that we didn't know how long these other related
  21     the court cited as part of that, and as part of what             21    investigations might take. And, well at least for
  22     the D.C. Court of Appeals did, is it said that these             22    January 6th, we now think that we do. And so we


                                                        Page 11                                                                 Page 13
  1      kinds of issues ought to be considered in the first               1     wanted to renew the motion for a deferral in light of
  2      instance by me and by the Board.                                  2     that to at least get us past the release of those
  3               And so to the extent anyone -- and that                  3     materials, which include depositions of witnesses
  4      was, as I understood it, after you present a                      4     that Mr. Fox said he intends to call.
  5      jurisdictional arguments, that the subpoena shouldn't             5              So we ask that you consider deferring it
  6      be enforceable because there's no jurisdiction before             6     to get past the release of the January 6th Committee
  7      the D.C. Court of Appeals.                                        7     materials.
  8               So if you want to take some, you know,                   8              CHAIR HIRSH: Well, I don't see that's a
  9      step about that, from my standpoint my marching order             9     reason for deferring this. There are a lot of
  10     is to continue with the proceeding, bring it to a                10     reasons why I don't agree with that. One of them is,
  11     hearing, do a report and recommendation, and follow              11     so you're telling me that -- we're going to be
  12     the normal process. And that is what I am planning               12     talking about dates in January, because both of you
  13     to do.                                                           13     have -- and I've asked counsel to come with dates in
  14              MR. MacDOUGALD: Thank you.                              14     January -- so you're saying two months or so before
  15              CHAIR HIRSH: It's up to you to decide                   15     the hearing you're going to have material. That
  16     whether to seek judicial review.                                 16     isn't a reason to stop doing other things.
  17              MR. MacDOUGALD: Thank you for that, Your                17              Your filing on Monday also suggests that
  18     Honor, and again we want to be clear. We are not                 18     you need time to follow the Justice Department's
  19     trying to argue with you with what you've already                19     Touhy regulations on access; that you want to try to
  20     said, and we respect the constraints that you operate            20     potentially subpoena witnesses, which we will talk
  21     under, but, you know, we've got to do what we've got             21     about later, but there isn't any reason to delay all
  22     to do.                                                           22     of those things while all the rest of this happens.


                                                                                                           4 (Pages 10 to 13)
202-347-3700                                            Ace-Federal Reporters, Inc.                                             866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 7 of 36
                                                      In Re: Jeffrey B. Clark
                                                          October 6, 2022

                                                    Page 14                                                                Page 16
   1             And the grounds for deferral are                   1    you know, if we're talking about a period of roughly
   2     relatively limited. The basic idea of our procedure        2    a week in time where the events in question occurred,
   3     is that we try to move as fast as we can -- as fast        3    and I believe that to be safe three days will be more
   4     as we can is a little too strong. Our procedure is         4    than adequate for us to put on the case.
   5     thorough. It is very careful. It has been                  5             CHAIR HIRSH: Okay. Mr. MacDougald?
   6     criticized as taking too long, you know, and I think       6             MR. MacDOUGALD: Thank you. Part of our
   7     everybody associated with the disciplinary process         7    difficulty is we don't know exactly what evidence Mr.
   8     realizes we try very hard to get it right, but it          8    Fox intends to put on, or the exact contours of his
   9     does sometimes take a longer time than people would        9    case are going to be. And depending on those exact
  10     want, both from the standpoint of the public and its      10    contours, we may need to put on more evidence.
  11     interest and from the standpoint of respondents who       11             So if he's going to take three days, I
  12     want to get a decision one way or the other as it         12    would say we might need somewhere between four and
  13     affects their career.                                     13    seven. And as far as cross-examination is concerned,
  14             So there is a pretty significant weight           14    I don't know how long it will take, but my one
  15     against deferring, and the fact that a month from now     15    commitment is that we will be thorough and swift.
  16     I may get more evidence that would be useful for a        16             MR. FOX: Mr. Hirsh, may I respond to that?
  17     hearing in January I don't see as grounds. So I am        17             CHAIR HIRSH: Sure.
  18     going to deny that request.                               18             MR. FOX: More so than I believe in any
  19             MR. MacDOUGALD: Alright, Your Honor.              19    case that I have tried, the respondent has complete
  20     Let's move on to the details.                             20    discovery and knows exactly what these witnesses are
  21             CHAIR HIRSH: Okay, thank you very much.           21    going to say. The witnesses are Mr. Rosen and Mr.
  22             Alright, I asked in light of the filing           22    Donoghue. They have been in written, transcribed


                                                    Page 15                                                                Page 17
   1     from Monday, you know, one of the takeaways I had          1    testimony before the Senate Judiciary Committee,
   2     from the filings so far as states are concerned            2    which the respondent has had for more than a year.
   3     where, both because of practical considerations and        3    They gave testimony before the January 6th
   4     what people do, and because of the time of year and        4    Committee. While we don't have the transcripts of
   5     people's other commitments, we're really talking           5    their depositions, the transcripts of that testimony,
   6     January here.                                              6    or the portions that were given, are there. So we
   7           So has counsel any dates to suggest? And             7    will have, certainly by what sounds like November,
   8     while we're doing that, I will pull up my own              8    the transcripts of the depositions they gave, but
   9     calendar to see what works. Why don't we just start,       9    even without that they have already got the
  10     first of all, how long are people anticipating the        10    Judiciary.
  11     hearing is going to take, so that might affect what       11             So they know precisely what the case is
  12     we need to block off?                                     12    going to be. And it is not an accurate
  13            MR. FOX: Mr. Hirsh, I believe that my              13    representation to say that they don't know what it is
  14     case can be put on in two days, or just say three to      14    going to be. And there is no excuse whatsoever at
  15     be conservative, although I generally am pretty           15    this point for them not to know how long it's going
  16     accurate -- good about hitting the mark. The one          16    to take them to put on their case.
  17     thing that I don't know is how long cross-examination     17             MR. MacDOUGALD: Your Honor -- or, Mr.
  18     -- you know, people have different styles of              18    Chairman, you might have observed that in response to
  19     cross-examination, and so I can't really factor that      19    our motion to dismiss, Mr. Fox changed his story
  20     in because I've never had a case with any of these        20    about what this case is about. And in his argument,
  21     gentlemen before.                                         21    he has shifted the ground upon which he intends to
  22           But there are two primary witnesses, and,           22    prove his case.


                                                                                                     5 (Pages 14 to 17)
202-347-3700                                        Ace-Federal Reporters, Inc.                                        866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 8 of 36
                                                         In Re: Jeffrey B. Clark
                                                             October 6, 2022

                                                      Page 18                                                             Page 20
   1           It started out with the framing of the                  1    hearing is important, okay? Everyone who comes here
   2     charges that the alleged attempted falsity was                2    is important, and it affects their career.
   3     strictly by comparison between the positions proposed         3            My reaction, given what limited
   4     in the draft letter on the one hand, and the                  4    information I know about the case at this point, and
   5     then-expressed positions of Mr. Clark's superiors at          5    I have to be humble about that. I've read what's
   6     the Department of Justice on the other.                       6    been filed, but I don't know all the details of the
   7           Mr. Fox in his response to our motion to                7    case at this point, is to think that what you're
   8     dismiss conceded that there's nothing wrong with              8    describing, Mr. MacDougald, sounds on the long side,
   9     proposing a change in position. Now the problem is,           9    okay?
  10     and I quote, "but nevertheless he persisted."                10            What I would like to do is the following.
  11          So we don't know exactly where he's going.              11    And the other thing is that -- focusing, before I say
  12     We have a good idea, it's true. And it's true we             12    that -- sometimes focusing the hearing helps, okay?
  13     have the Senate Judiciary Committee transcripts. But         13    If you give people an infinite amount of time, they
  14     one of the distinguishing features of those                  14    will take it.
  15     transcripts is that the Department of Justice limited        15            So what I would like to try to do is start
  16     the topics of inquiry based on law enforcement               16    on the assumption that it will be a five-day hearing
  17     privilege objections.                                        17    total, with Disciplinary Counsel more or less
  18            We don't know where that's going to go.               18    expected to have the first two-and-a-half, subject to
  19     Those may be topics that we want to pursue on cross.         19    the vagaries of how long cross-examination is. I'm
  20     And if the position of Mr. Fox is that it was                20    not inclined to have some kind of chess clock where
  21     necessarily, knowingly false to suggest that                 21    everybody figures out each minute of what they do,
  22     additional investigation of the election was                 22    you know that's just kind of silly.


                                                      Page 19                                                             Page 21
  1      appropriate, and that seems to be the direction that          1            I'm trying to give you a general
  2      he's going from his response to the motion to                 2    guideline. And as we approach the end of the time we
  3      dismiss, well we don't know exactly where that might          3    have blocked out, we will discuss whether there is
  4      go, or exactly what evidence we would put on to rebut         4    really need for more time. But I am going to go on a
  5      that.                                                         5    presumption that this is going to be enough, and I
  6              So the case may take longer. I mean, if               6    expect counsel on both sides to be acting in good
  7      it's so simple and straightforward, why does it take          7    faith on this and to be tried, not to stretch things
  8      him three days?                                               8    out for the point of stretching it out, which is not
  9              CHAIR HIRSH: Here is my reaction. There               9    in anybody's interest.
  10     has never been a case where everyone -- and certainly        10            So if Mr. Fox can present his case in two
  11     in this setting, but even in a civil case, where             11    days rather than two-and-a-half, I would expect him
  12     you've had massive discovery, and depositions, and           12    to do that. And I would expect -- you know, I am not
  13     everybody who ever had any information or anything           13    going to arbitrarily cut off things. So I will leave
  14     related to anything, that everyone has known exactly         14    open, when we get to a circumstance whether we need
  15     what's going to happen at a trial. It just doesn't           15    to schedule an additional day, but we have to have
  16     happen. Okay?                                                16    some idea of what we are going to block off.
  17             I think that probably in the great                   17            So let's talk about blocking off five
  18     pantheon of information you don't have 100 percent,          18    days.
  19     but you probably have more than you have in the              19            MR. MacDOUGALD: And I hear you, Mr.
  20     average disciplinary proceeding. But regardless, the         20    Hirsh, and what I would say is as we get closer these
  21     real question is how much time does this hearing             21    things may come into sharper focus.
  22     take? And how much time does it require? And every           22            CHAIR HIRSH: Sure. That can happen.


                                                                                                       6 (Pages 18 to 21)
202-347-3700                                          Ace-Federal Reporters, Inc.                                        866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 9 of 36
                                                       In Re: Jeffrey B. Clark
                                                           October 6, 2022

                                                     Page 22                                                             Page 24
   1     And you may find out really you need is a three-day         1    would work for me. The week of the 9th would work
   2     hearing --                                                  2    for me, or perhaps the -- no, the 16th is a holiday.
   3           MR. MacDOUGALD: Or we may need more.                  3           MR. FOX: I can certainly do it the week
   4     But we are not going to belabor things in the               4    of the 9th.
   5     hearing. We want to be crisp and effective in what          5           I consulted with the witnesses, and that
   6     we present. So -- but at the same time, this is a           6    week of the 9th would work. The following week
   7     very unusual case. It presents a lot of novel               7    doesn't work for one of the witnesses. The week
   8     questions, and we owe Mr. Clark our best efforts to         8    after the 16th, but the week of the 9th is
   9     represent him and tell the story the best way we can.       9    available.
  10            And again, as we commented in some of our           10           MR. MacDOUGALD: Okay, so I think Mr. Fox
  11     filings, there is a premise underneath this case that      11    just said starting the 25th would not work for your
  12     we don't accept.                                           12    witnesses?
  13            MR. HIRSH: I understand that.                       13           MR. FOX: That gets us into February, and
  14            MR. MacDOUGALD: And if we go -- and if              14    frankly I haven't inquired about February. I thought
  15     we are required to rebut that in our presentation, it      15    we were going with January.
  16     will take more time.                                       16           MR. MacDOUGALD: And, Your Honor, we
  17            MR. HIRSH: Okay. Alright, well let's                17    haven't yet identified all of our witnesses, or
  18     talk about dates. Have you folks had an opportunity        18    talked to them. So we don't know right now about
  19     to speak with each other since I issued the Order          19    their availability or any given date. You know,
  20     asking for dates in January?                               20    because we can take depositions to preserve evidence
  21           MR. FOX: We probably had the                         21    for use at trial, and because we can present
  22     opportunity, but we didn't avail ourselves of it.          22    testimony by Zoom, we hope we can work through any


                                                     Page 23                                                             Page 25
  1             MR. HIRSH: Okay, you didn't avail                    1    availability problems. But, you know, we haven't
  2      yourselves.                                                 2    either identified or confirmed availability for our
  3             MR. MacDOUGALD: That's a fair statement              3    witnesses for any of these dates.
  4      from Mr. Fox.                                               4            MR. HIRSH: Understood. And, you know, I
  5             MR. HIRSH: Okay, so what are we looking              5    will make efforts to accommodate -- look, we're all
  6      at? What dates might be available?                          6    remote and I should tell you in January -- the plans
  7             MR. MacDOUGALD: If I could, for our                  7    haven't been set. So the entire hearing may be
  8      team, we would ask that it not be immediately after         8    remote in January. So obviously I am not going to
  9      the New Year, because that will create some hardships       9    get desperately upset if somebody has to testify by
  10     for people that have families. So the week of              10    remote testimony, even if we are live. And I will
  11     January 16th, that's a Monday. Is that MLK Day? Yes,       11    try to accommodate practical things like that.
  12     the 16th is MLK Day.                                       12            Can we focus on the week of the 9th?
  13            MR. FOX: That was precisely the week I              13            MR. MacDOUGALD: Does anybody -- on our
  14     was going to suggest, so we are in agreement on that.      14    team, have a conflict that week? I'm not hearing
  15            MR. MacDOUGALD: But does the panel do               15    one. Nothing has come up at the moment, Your Honor.
  16     business on MLK day?                                       16    We would rather start on the 25th or the 30th, but --
  17            MR. HIRSH: The 16th is a holiday, so I              17
  18     think the government is off.                               18            MR. HIRSH: Alright, let's go with the
  19            MR. FOX: The 17th, then.                            19    week of the 9th, then. I'll block off the 9th to the
  20            MR. HIRSH: The difficulty is -- for that            20    13th with the understanding that we're going to try
  21     week, is my schedule. That week doesn't really work        21    to avoid needing additional time. And I expect
  22     for me. The week before, or starting on the 25th           22    people to try to fit within the time, but if it comes


                                                                                                     7 (Pages 22 to 25)
202-347-3700                                        Ace-Federal Reporters, Inc.                                          866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 10 of 36
                                                             In Re: Jeffrey B. Clark
                                                                 October 6, 2022

                                                            Page 26                                                             Page 28
   1     up and we actually need time and it can't be done                 1    on that?
   2     separately or remotely, we have lots of                           2           MR. FOX: I am fine with all the schedule
   3     possibilities, that a continuation would be on the                3    that Mr. Clark's counsel has proposed. The one
   4     25th.                                                             4    caveat is that I want to look at what days the
   5             MR. MacDOUGALD: In other words, if we                     5    holidays are and we may want to adjust a day or two
   6     don't finish the week of the 9th, we would resume on              6    around the holidays. But with that caveat, I am fine
   7     the 25th?                                                         7    with all the dates they suggest.
   8            MR. HIRSH: Yeah. And I assume that                         8           The one thing I would say is that I think
   9     would handle Mr. Fox's problem, because he would                  9    the normal rule about declaring 21 days before the
  10     already have presented his case during the week 9th.             10    hearing whether testimony is going to be done
  11             MR. FOX: Yes.                                            11    remotely in the context of the way we've been trying
  12             MR. MacDOUGALD: For the sake of                          12    these cases now, is a bit silly, and that -- and
  13     continuity, would it be better to start on the 25th              13    particularly in light of your comment a moment ago
  14     and continue the following week, if we need to --                14    that we simply ought to agree that there are
  15           MR. HIRSH: No. I'd rather start on the                     15    witnesses -- even if we go live, if there are
  16     week of the 9th. I don't need to have this stacked               16    witnesses who are outside the District of Columbia
  17     to back and frequently things get divided up because             17    and it's easier for them to testify remotely, that we
  18     of schedules. I'd like to get this done, and the                 18    can do it by Zoom or some other remote way, without
  19     week of the 9th works. I don't want to try to                    19    having the necessity of declaring that 21 days in
  20     explore stuff. So let's start on the 9th. I'm                    20    advance. But aside from that, I have no problem
  21     hoping that all we'll need is the week of the 9th.               21    with any of the schedule that they suggest.
  22           MR. MacDOUGALD: Well, we're hoping we                      22           CHAIR HIRSH: Alright, why don't we do


                                                            Page 27                                                             Page 29
  1      won't even need the week of the 9th.                              1    this.
  2             MR. HIRSH: Okay, and you're hoping you                     2            MR. MacDOUGALD: We would agree with that
  3      won't even need -- see we're on the same page.                    3    last suggestion.
  4             (Laughter.)                                                4            MR. HIRSH: Okay. Alright, I will make
  5             MR. HIRSH: Okay. Alright --                                5    as part of my Order that witnesses may testify
  6             MR. BURNHAM: I'm sorry, Mr. Chairman?                      6    remotely, the whole hearing might be remote, but
  7      How many days in the week of the 25th should we block             7    regardless, witnesses will be able to testify
  8      out? I didn't catch that.                                         8    remotely, and we'll set up for doing that.
  9             MR. HIRSH: I'm assuming we won't need                      9            And perhaps when people identify the
  10     it. What I'm saying is that if we need an additional             10    witness, the 30 days before, they can just indicate
  11     day, it will be the 25th. Okay? So that people                   11    whether they are intending to call them remotely so
  12     will have an idea of when this will be, if it                    12    that opposing counsel is aware of it. Okay?
  13     happens. Just helping for people's schedules. Okay?              13            And that saves that deadline of 21 days to
  14            MR. BURNHAM: Thank you.                                   14    come up with this gut-wrenching decision.
  15            MR. HIRSH: Thank you. Alright, now                        15            MR. MacDOUGALD: That is -- that rule was a
  16     there are dates that queue off that timing that we               16    challenge.
  17     just set up. Now the -- Mr. Clark has proposed 30                17            MR. HIRSH: Yeah, right. Okay.
  18     days before the hearing for submission of the                    18            MR. MacDOUGALD: And, Your Honor, the idea
  19     witness list and exhibits, as I read it. Is that                 19    of having stipulations come after the witness list
  20     correct, Mr. MacDougald?                                         20    and the exhibit list is, when we see those we may
  21            MR. MacDOUGALD: Yes, it is.                               21    have the ability to stipulate documents. We would be
  22            MR. HIRSH: Mr. Fox, do you have a position                22    in a better position to stipulate the things at that


                                                                                                            8 (Pages 26 to 29)
202-347-3700                                             Ace-Federal Reporters, Inc.                                            866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 11 of 36
                                                            In Re: Jeffrey B. Clark
                                                                October 6, 2022

                                                         Page 30                                                         Page 32
   1     point. But if we can reach stipulations ahead of                 1    time.
   2     that, you know, we will pursue that.                             2            MR. HIRSH: Okay. Now let's talk about
   3             MR. HIRSH: Okay. Well let me sort of                     3    day two. Object to exhibits, to file objections. Do
   4     work backwards. My rough math if this is done                    4    we want to say the 19th? That's one week after the
   5     quickly, is December 12th would be the day for the               5    12th.
   6     witness and exhibit lists?                                       6            MR. MacDOUGALD: I think a week is
   7             I think the 11th might actually be -- it                 7    probably enough for us. Charles, any thoughts on
   8     may be 29 days rather than 30, but it seems like                 8    that?
   9     there's a weekend before the 12th. The 12th is a                 9            MR. BURNHAM: That's fine.
  10     Monday. Would that work for the exhibit and                     10            MR. HIRSH: Okay, on the stipulations,
  11     witness lists?                                                  11    you would propose 21 days before the hearing for the
  12             MR. MacDOUGALD: December the 12th?                      12    stipulations. So more or less that would be December
  13             MR. HIRSH: Yes.                                         13    21st.
  14             MR. FOX: That's fine with me.                           14            MR. FOX: Mr. Chairman, I don't have any
  15             MR. HIRSH: Okay.                                        15    problem with that. But it has also been my
  16             MR. MacDOUGALD: Let me interject that,                  16    observation that a hearing committee has welcomed
  17     depending on the timing of the January 6th Committee            17    stipulations following the deadline. I don't know
  18     releases, we may be hard up on that date or even past           18    exactly -- and I presume we are going to get to that
  19     it.                                                             19    next -- what the defense -- or the respondent's case
  20             So, you know, we would like -- if there's               20    is going to look like.
  21     something in there that we need to get in, we'd like            21          I would think, frankly, that in the
  22     to be able to come back and amend the list, if                  22    context that we-- what I know of our case, this is


                                                         Page 31                                                         Page 33
  1      needed. You know, we don't know what we have or                  1     not a case that is going to result in very many
  2      what they're going to release, but we know that some             2     stipulations -- perhaps through authenticity of
  3      of it is going to be favorable compared to what's                3     documents -- but I just don't see that there's much
  4      been publicly released.                                          4     that I would be seeking a stipulation about. So I
  5              MR. HIRSH: Look, I will take that up, if                 5     just want to flag that.
  6      it comes.                                                        6             But in any event, I am certainly going to
  7              MR. MacDOUGALD: Okay.                                    7     be open if something comes up the day before the
  8              MR. HIRSH: I hope I can get across. I'm                  8     hearing and it makes sense to stipulate, to stipulate
  9      not trying to stand overly on ceremony, okay? If                 9     to it.
  10     people have good reasons for things, then we will get           10             MR. HIRSH: You can kumbaya at any
  11     to some things that in fact, you know, I do want you            11     moment. We will include that in the Order, but of
  12     to follow the rules on some of the discovery stuff,             12     course that is true. The advantage of having a
  13     but I'm not here to say, okay, well, we just the                13     deadline is -- I'm gonna expect that if we have a
  14     stock yesterday, too bad, too late. You know, it's              14     deadline for stipulations, that counsel are going to
  15     not--                                                           15     talk with each other. And it is not unusual in a lot
  16             MR. MacDOUGALD: Thank you very much.                    16     of cases, you know, I mean you both file briefs to
  17             MR. HIRSH: I will handle things in a --                 17     some extent that you have critical things to say
  18             MR. MacDOUGALD: We understand that you've               18     about how the other side curious things, which is not
  19     got to set a schedule to move the case, and we will             19     the first time this has ever happened in, you know,
  20     do our best on all that. But I wanted to flag it so             20     in all disputes.
  21     that it didn't come up as -- it wouldn't be a                   21             I do want you to work together
  22     surprise or sound like we were making stuff up at the           22     professionally and cooperatively. If there are ways


                                                                                                        9 (Pages 30 to 33)
202-347-3700                                             Ace-Federal Reporters, Inc.                                     866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 12 of 36
                                                            In Re: Jeffrey B. Clark
                                                                October 6, 2022

                                                        Page 34                                                         Page 36
  1      of, you know, avoiding arguments particularly about              1     see raised in the briefs that you've already filed
  2      various details and things that, you know, aren't                2     that I'd like you to think about, okay, and address.
  3      really disputed, you know -- I mean obviously there              3     And I absolutely want people to be prepared at the
  4      are things that are not disputed that may not be                 4     hearing to address this, okay? I don't want to find
  5      worth the time. The way Mr. Clark was admitted to                5     out, well, we haven't thought about it, or it will
  6      the Bar, for example, is a relevant fact, that I                 6     end up in our post-hearing briefs, because it will
  7      doubt is in dispute, you know, for example.                      7     help us understand the evidence at the hearing.
  8              MR. FOX: The facts have been admitted                    8             The question is whether it is worthwhile
  9      to.                                                              9     to follow up with a prehearing brief to do this or
  10             MR. MacDOUGALD: We have. We admitted                    10     not. And I'm open to people's views. As I said, you
  11     that.                                                           11     might want to hear the sort of things I have been
  12             CHAIR HIRSH: You admitted that in your                  12     thinking about so far as what parties have said
  13     answer, so I assume that is -- you know, I'm giving             13     before deciding that. Or you might want to comment
  14     that as an example.                                             14     on it now, to see that to some extent potentially
  15             So, okay, the other -- Mr. Clark's brief                15     tied to the motion in limine. Because motions in
  16     also raised timing for motions in limine.                       16     limine may relate to what the theories of the case
  17             MR. MacDOUGALD: Yeah, maybe we ought to                 17     are, you know, how it is being argued.
  18     change the suggested dates on those, although I don't           18             So do you have a general thought on that?
  19     know exactly when they ought to be. And our thinking            19             MR. MacDOUGALD: I think our preference
  20     on that was we do what we have to do as lawyers, but            20     would be to have a briefing on that. But it
  21     if we can, not be briefing like mad men between                 21     obviously depends on the issue and the question.
  22     Christmas and New Year's, that would be good.                   22             CHAIR HIRSH: Mr. Fox, do you have


                                                        Page 35                                                         Page 37
   1            CHAIR HIRSH: Yeah, I think that makes                     1     thoughts on it?
   2     sense. Let me ask a sort of separate but related                 2              MR. FOX: I frankly would rather hear
   3     question, which is: I was going to ask whether people            3     first what the positions are. I mean --
   4     want to file prehearing briefs. And what I am going              4              CHAIR HIRSH: You don't want to buy a pig
   5     to get to -- and you might just want to put a pin in             5     in a poke.
   6     that question, because what I wanted to do a little              6              MR. FOX: Exactly so. In addition to
   7     bit during this is, try to focus a little bit on, not            7     that, there has been some rather extensive briefing
   8     necessarily -- I'm not going to give you a pop quiz,             8     already --
   9     you know, what is your argument here? What do you                9              CHAIR HIRSH: That's certainly true.
  10     mean there? And, you know, whatever.                            10              MR. FOX: -- on a number of issues.
  11            What I tend to do at hearings is something               11              CHAIR HIRSH: There have been some. But
  12     I wish judges did with me so I try to do it for other           12     to some extent -- and I'm not criticizing this --
  13     people, which is sometimes judges sit there                     13     part of your response was this isn't the time to
  14     stone-faced listening to arguments, smile politely,             14     address it.
  15     say thank you counsel, and hear the other argument              15              MR. FOX: That's correct.
  16     and walk away, and you never know what it is that               16              CHAIR HIRSH: So, alright, so let me talk
  17     concerned them, interested them, or would be worth              17     a little bit about that, and then we'll work back on
  18     spending time and my attention to.                              18     some things with the schedule.
  19          So I am going to give you sort of --                       19              As I said, I do this really as a courtesy
  20     nowhere close to a ruling. This is not a decision.              20     to counsel, okay? I haven't made decisions in this
  21     It's not even close to a decision. You shouldn't                21     case. It's early in the case. I have read the
  22     even infer anything. But some of the things that I              22     briefs that people have filed, and it's unusual.


                                                                                                     10 (Pages 34 to 37)
202-347-3700                                           Ace-Federal Reporters, Inc.                                     866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 13 of 36
                                                       In Re: Jeffrey B. Clark
                                                           October 6, 2022

                                                     Page 38                                                         Page 40
   1      People have spent more time talking about the issues       1    the 2020 Presidential election that might have
   2      surrounding the case than most of our cases have,          2    affected the results in Georgia."
   3      okay? So usually I don't even have this much.              3           It goes on beyond that. But what I want
   4              So, Mr. Fox, let me just start with you.           4    to focus on is -- what I want you to focus on in
   5      And as I said, this isn't a pop quiz. If you want to       5    presenting your case, not necessarily now, is a
   6      say, okay, I've got your point, I'll think about it,       6    question I have in my mind that I want to apprise you
   7      I'm perfectly fine with that. You don't have to have       7    of so that you can think about it, is: What is the
   8      an answer off the top of your head about everything.       8    line that Mr. Clark crossed? Okay? Where was it?
   9              First is just kind of a point of                   9           As I understand it -- your theory. You're
  10      clarification. As I understand the specification of       10    not saying that drafting this memo after Attorney
  11      charges, both of the counts that you are reining --       11    General Barr had said that there wasn't evidence --
  12      it's not actually separated in accounts, but they are     12    I'm over-simplifying -- said there wasn't evidence of
  13      both attempt. They are both a combination of 8.4A,        13    substantial fraud on December 1st; it was, rather,
  14      discussing attempts, and either 8.4C discussing           14    continuing to pursue the memo at some point.
  15      dishonesty and other things, and 8.4D, discussing         15           What I want you to be able to articulate
  16      serious interference with the administration of           16    is: At what point does this become attempted
  17      justice.                                                  17    dishonesty, as opposed to what you describe as a
  18              Your claim is that in both of the                 18    stupid suggestion?
  19      instances Mr. Clark attempted, not did -- it's not        19          Okay? Where is the line? And how do we
  20      just a pure 8.4 C or D, if you understand my              20    draw that line in deciding how to apply this? Okay?
  21      question. It's a case about attempt.                      21    That was one thing that struck me about it.
  22              MR. FOX: That's correct.                          22          A second issue -- and if you want to


                                                     Page 39                                                         Page 41
   1             CHAIR HIRSH: Okay. And as I understand,             1    comment now, that is fine, but I can understand why
   2     there is an exchange in the briefing where you were         2    you might want to think about it, you know, but
   3     responding to Mr. Clark's characterization of the           3    either way is fine.
   4     events in his motion to dismiss. And in your omnibus        4           MR. FOX: Well, I mean I'm happy to
   5     response, you said: "Respondent's arguments assume          5    comment now. I should probably have had the dates
   6     that the conduct at issue was a predecisional               6    more at my fingertips than I do, and I don't, but our
   7     recommendation, part of providing advice to the             7    position is, that after he was initially told that
   8     President or an honest expression of opinion on a           8    there was no basis to make these claims, that he came
   9     legal issue, and therefore does not implicate Rule          9    back and used coercive methods, or means to attempt
  10     8.4."                                                      10    to get the letter to be sent, even though he had no
  11            That is the rule that all of your claims            11    additional information. Indeed, there was a
  12     fall under.                                                12    suggestion that he made that he contact the U.S.
  13           "The evidence will show that this is not             13    Attorney in Atlanta, which he didn't do. And even
  14     so. Had Respondent merely suggested sending the            14    though the people that he was addressing it to were
  15     so-called proof of concept letter to various Georgia       15    the people who had the responsibility, the overall
  16     officials, this case would not have been brought. It       16    responsibility of supervising the investigations that
  17     is generally not a disciplinary violation to make a        17    were being made into election irregularities, and
  18     stupid suggestion. Rather, these charges arise from        18    that when he came back and attempted to coerce them
  19     Respondent's conduct after he proposed sending the         19    into sending the letter, that that's where he crossed
  20     letter, and was informed by his superiors that there       20    the line.
  21     was no factual basis for the claims made in it. Most       21           CHAIR HIRSH: Okay, I appreciate you
  22     significantly, that there was no evidence of fraud in      22    providing that insight. This is not -- as I said,


                                                                                                  11 (Pages 38 to 41)
202-347-3700                                        Ace-Federal Reporters, Inc.                                      866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 14 of 36
                                                      In Re: Jeffrey B. Clark
                                                          October 6, 2022

                                                    Page 42                                                           Page 44
   1     it's not a pop quiz. So if you think about refining        1    attempting to cause them to do, the litigation --
   2     some of this point, or a different way of                  2    unnecessary litigation that would have followed would
   3     articulating it, I'm not going to say ah-ha! You           3    have been extraordinary.
   4     told me on October 6th, X but now it's X-prime.            4            So that's my response with respect to the
   5           People think about cases they develop, but           5    8.4D.
   6     my point in flagging it is this is something I was         6            CHAIR HIRSH: Thank you. Mr. MacDougald,
   7     wondering about, I don't know right, wrong, or             7    again I don't know if you want to comment on these
   8     whatever.                                                  8    particular points right now. This was more me,
   9           Another thing I'm wondering about -- and I           9    trying to frame things that people can think about.
  10     should also add, I'm going to be the Chair of the         10    If you want to comment, that's fine, but if you don't
  11     Committee. There are going to be two other people at      11    that's fine, too.
  12     the hearing, so I am not the sole decision-maker,         12            Let me ask you a couple of things from
  13     even to the point of an important recommendation.         13    what I've seen in the papers that Mr. Clark has
  14     And of course all it is is an important                   14    submitted. Your answer raises 54 I think affirmative
  15     recommendation to a Board who will decide what it         15    defenses, many of which cite various provisions of
  16     wants to do, and potentially proceeding before the        16    the Constitution, or various deliberative process,
  17     D.C. Court of Appeals who is also responsible for         17    rules of Administrative Law or Practice, and various
  18     particularly legal issues.                                18    other things.
  19            So I am just one part of this process, but         19            And, you know, I understand these
  20     I am trying to help people in formulating things that     20    provisions existing, but what is not quite as clear
  21     have struck me.                                           21    to me in some of the briefing is the connection
  22            The other one I wanted to raise with you,          22    between some of the points you make and our


                                                    Page 43                                                           Page 45
   1      Mr. Fox, is, your theory is "attempted serious            1     proceeding. There really are a couple of aspects of
   2      interference with the administration of justice under     2     it that, you know, it would help me if you would
   3      8.4D." In what way do you maintain that Mr. Clark         3     address how the theories of this work.
   4      attempted to interfere with the administration of         4              One of the aspects of it is, you kind of
   5      justice? What's the administration of justice that        5     make a general point that the President is the boss
   6      was interfered with, or potentially, or attempted to      6     of the Attorney General, I'm putting it in very
   7      be interfered with? And how does that fit into that       7     simple terms, but basically it's that ultimately
   8      box?                                                      8     it's the President and the Attorney General. But it
   9              MR. FOX: And here my answer is a little           9     is not clear to me exactly what that means in the
  10      more tentative, but I think there are two ways.          10     context.
  11              There is one case in the District of             11              First of all, part of that is: Is the
  12      Columbia, I think it's called "White" in which the       12     Attorney General reporting to the Office of the
  13      interference in a legislative matter was deemed to be    13     President, or the personal interest of the President
  14      an 8.4D violation. So that's the first thing.            14     as an aspect of how you do this? And is there a
  15              And the -- because, you know, clearly what       15     distinction between those two? If the person who is
  16      he was seeking to do was to cause all kinds of what      16     there as opposed to the Office of the President.
  17      we would contend to be unwarranted legislative           17              Another area where I'm unclear about how
  18      activity, and in this context the legislative            18     you're articulating it is: Okay, so what does that
  19      activity is -- it's legislative, but it's also sort      19     mean? Can the President -- is every -- you know,
  20      of a fact-finding quasi-judicial function.               20     what is the limiting principle? Is every employee of
  21              And secondly, that undoubtedly, had the          21     the Justice Department, or every appointed person in
  22      Department of Justice done what Mr. Clark was            22     the Justice Department obliged to do something no


                                                                                                  12 (Pages 42 to 45)
202-347-3700                                       Ace-Federal Reporters, Inc.                                        866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 15 of 36
                                                          In Re: Jeffrey B. Clark
                                                              October 6, 2022

                                                        Page 46                                                                    Page 48
  1      matter how obvious it might be contrary to law,                1     make a ruling on this today, and I don't want you
  2      simply because the President says so? You know, what           2     spending all of your life writing additional briefs.
  3      does that mean, right? What's the limiting principle           3     I just wanted to alert it as a courtesy so you could
  4      on that?                                                       4     think about it.
  5             And the third aspect of it that I'm trying              5             And there's kind of a flip side, Mr. Fox,
  6      to get a connection between all of these principles            6     to this on your side, which is: Okay, I see part of
  7      is: How does that apply to the enforcement not of a            7     their argument is that there is a deliberative
  8      governmental action -- this isn't a lawsuit where              8     process here, and there are ordinarily some
  9      you're trying to say, you know, someone is bringing            9     protections to what takes place in a deliberative
  10     a civil suit saying Mr. Clark shouldn't advise the            10     process. Okay. How does that affect any of this?
  11     President. Okay? I understand that, you know, that            11     Does it affect it not at all, that some of this stuff
  12     application of what you're talking about.                     12     might be under a normal kind of, you know, a
  13            But this is, Mr. Clark is a member of the              13     pre-decisional discussion about stuff that ordinarily
  14     D.C. Bar. And from Mr. Fox's perspective, from the            14     in some sense -- and I'm not trying to overstate or
  15     Disciplinary Counsel's perspective, the D.C. Bar has          15     misstate; I'm just trying to lay it out -- some sense
  16     rules. And if you are a member of our Bar, you have           16     is part of this is not fair game, in some sense.
  17     a license -- as he describes it under case law,               17     Okay?
  18     it's a privilege to serve as a lawyer in the District         18             And how does that play into this case and
  19     of Columbia, and you have to follow the rules.                19     how we evaluate the significance of the evidence
  20            How does all that play out to what's                   20     you're going to present? I mean, does the context
  21     actually before us as opposed to principles that              21     matter not at all, I guess is the question, or does
  22     might apply differently to, you know, could you have          22     it matter, but not enough? Or whatever, it may not


                                                        Page 47                                                                    Page 49
   1      access to communications that take place for, you             1    be clear, but -- .
   2      know, the delivery of process privilege argument, or          2           MR. FOX: I mean if we're going to do a
   3      4A exemption 5, or something.                                 3    prehearing briefing, we are going to obviously
   4               How does that relate exactly to our                  4    address it there, but frankly I don't understand the
   5      proceeding, is at least from my initial reading of            5    question very well. I mean, we are not challenging
   6      what you filed, less obvious than that these                  6    advice that Mr. Clark gave to the President, or even
   7      principles are out there. Okay?                               7    to the Acting Attorney General.
   8               MR. MacDOUGALD: Those are thoughtful                 8           Our challenge is that he attempted to have
   9      questions, and I would have hoped that we had been            9    the Department of Justice engage in what was very
  10      sufficiently clear in our briefing, but perhaps we           10    serious conduct with no basis to do so. And, you
  11      didn't hit the mark. We'd like to huddle and submit          11    know, to the extent that there's a pre-decision
  12      briefing on that, additional briefing. Those are             12    line, I think -- I'm not sure it is, but I think it
  13      very important questions, and there's some subtlety          13    is the one that I've already drawn, which is: look, I
  14      to it. So we would like to express it in writing, if         14    worked in the Department of Justice. I'm sure that I
  15      it's all right with the Chair.                               15    wrote some memos that had, you know, were dumb ideas
  16               CHAIR HIRSH: I don't need the answers               16    and they got shot down. But, you know, if after
  17      right now. I mean, if we're going to have a                  17    being told that there is no basis for it, no factual
  18      prehearing brief, I'd rather you do this more in the         18    basis for it, I nevertheless went ahead and tried to
  19      context of the facts, because the theories may               19    act as though they were, then that's problematic.
  20      change.                                                      20    And it is particularly problematic if, you know, I
  21               MR. MacDOUGALD: Okay.                               21    attempt to say if you don't sign this letter it's
  22               CHAIR HIRSH: Because I'm not going to               22    going to cost you your job.


                                                                                                         13 (Pages 46 to 49)
202-347-3700                                           Ace-Federal Reporters, Inc.                                               866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 16 of 36
                                                             In Re: Jeffrey B. Clark
                                                                 October 6, 2022

                                                           Page 50                                                             Page 52
   1             So, you know, that's the line that I would                1           And opposition is going to be that --
   2     draw. And, frankly, I don't understand all of the                 2    well, I won't say what the position is, but this is
   3     arguments that have been advanced, that this is                   3    not like a criminal trial where one is prohibited
   4     somehow Presidential advice or something like that.               4    from commenting on that to the jury.
   5     And if Mr. MacDougald is able to articulate better                5           MR. BURNHAM: And, Your Honor, we would -
   6     what it is his position is, I'm happy to refine that              6    -
   7     answer.                                                           7           MR. MACDOUGALD: Go ahead, Charles.
   8             CHAIR HIRSH: Okay.                                        8           MR. BURNHAM: I was just going to say,
   9             MR. MacDOUGALD: Well, you know, they've                   9    real briefly, we obviously object to the position Mr.
  10     got the burden of proof by clear and convincing                  10    Fox has intimated, and I'm happy to go into that now
  11     evidence that there was a violation of the rules.                11    if it would be helpful to the Chair at this point.
  12     And this goes right back to the question that the                12    Or we can include that on our list of things to brief
  13     Chairman posed, which is where is the line? Where is             13    up, because we think the ODC's position is quite
  14     the line?                                                        14    incorrect on that. Thank you.
  15             If it's okay to make a suggestion but it's               15           CHAIR HIRSH: Let me just make two
  16     not okay to persist in the suggestion, there's                   16    comments. One is, I can't control the tone of your
  17     nothing in the rules about that.                                 17    back-and-forth arguments, okay? Here today you've
  18             CHAIR HIRSH: Okay. That's helpful.                       18    been, you know, very professional, of course, and
  19             And, Mr. MacDougald, you make a point I                  19    reasonably civil, although there's differences you
  20     wanted to emphasize. At this point, it's burden of               20    both had made, but in your briefs which is a bit more
  21     proof by clear and convincing evidence. I'm not                  21    of this.
  22     assuming any facts are true. I'm just trying to                  22           Look, you know, I can't control it. You


                                                           Page 51                                                             Page 53
  1      understand what the theories are.                                 1     can make whatever arguments you want. I'm just
  2             MR. MacDOUGALD: And, you know, speaking                    2     telling you as the audience, you know, that type of
  3      for our side, we are very grateful for the questions              3     stuff doesn't really move me very much. I am more
  4      that have been posed. It's helpful.                               4     interested in the merits. If an argument doesn't
  5             CHAIR HIRSH: Thank you.                                    5     have merit, it is not because you dislike the
  6             Alright, well let's continue on getting to                 6     opposing attorney, it is because the argument doesn't
  7      the things we need to discuss. Alright, if we are                 7     have merit and I'm not going to buy it.
  8      going to have -- Mr. Fox, now that you've heard some              8             If the argument has merit, it doesn't
  9      of my musings, okay, and please treat them as such,               9     matter how bad the opposing -- you know, you think
  10     how do you feel about doing prehearing briefs?                   10     the attorney is, if it's a meritorious argument, it
  11            MR. FOX: Well, you know, it sounds to me                  11     is. So you might want to -- I can't stop you. I'm
  12     like this is a case that inevitably is going to                  12     just telling you what effects, how I read it.
  13     result in prehearing briefs, because of the nature of            13             As far as the, whatever, it seems to me
  14     the "throw it against the wall and see what sticks"              14     that you folks should probably talk. I'm not
  15     defense that's being put forward. And that may be a              15     requiring you to do it, but it would make sense to
  16     way to refine that.                                              16     try to. Because I'm not going to have 47 rounds of
  17            And so I certainly don't oppose doing so.                 17     pretrial briefing where you make replies and counter
  18     Indeed, I think another issue that needs to be                   18     replies, okay? That's just a waste of people's time.
  19     addressed in the prehearing briefs is that Mr. Clark             19             I think it would help to have everybody
  20     has asserted his right against self-incrimination,               20     file a pretrial brief, and it would probably help for
  21     and should he persist in doing that, the evidentiary             21     counsel to talk with each other just to understand
  22     effect of that in these proceedings.                             22     the broad topics that are going to be addressed so


                                                                                                          14 (Pages 50 to 53)
202-347-3700                                               Ace-Federal Reporters, Inc.                                         866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 17 of 36
                                                         In Re: Jeffrey B. Clark
                                                             October 6, 2022

                                                       Page 54                                                           Page 56
   1     that the issues don't fly past each other.                    1    indication in one of the papers -- and perhaps it was
   2            And here's what I'm going to do. Going                 2    in an email -- that the Respondent was considering
   3     back to our calendar, I'm going to ask that you meet          3    calling an expert in legal ethics, and I would just
   4     and confer about the topics of the brief by say,              4    refer respondents to the decision that the Court of
   5     December 12, and file the brief by the 21st, which is         5    Appeals came down with about two weeks ago, I think
   6     the same schedule on the motions in limine, which             6    it was, in the Clayman case in which they said that
   7     will get it to correspond.                                    7    expert testimony on the subject of legal ethics is
   8            MR. MacDOUGALD: 12/20? Or 12/21? I'm                   8    not appropriate in these proceedings.
   9     sorry, I misheard.                                            9            Now I don't know what other kinds of
  10            CHAIR HIRSH: Yeah, not actually maybe we              10    experts there may be. If we are going to have
  11     should move this up. Why don't you meet and confer           11    experts, I would request that we build into the
  12     by December 7, and file your prehearing briefs on            12    schedule a requirement that an expert report be filed
  13     December 14, with motions in limine. That will allow         13    at some time that would give me the opportunity, if
  14     a response to the motion in limine before we get too         14    it is needed -- I suspect it may not be needed -- to
  15     close to the holidays.                                       15    designate a counter-expert.
  16            MR. MacDOUGALD: Okay.                                 16            MR. MacDOUGALD: Let us have a chance to
  17            CHAIR HIRSH: And then have a response to              17    study on the claimant opinion and we'll --
  18     the motion in limine due December 21st?                      18            CHAIR HIRSH: Sorry?
  19            MR. MacDOUGALD: And, Mr. Chairman, in                 19            MR. MacDOUGALD: We'd like to study the
  20     your Order are you going to enumerate any of the             20    claimant opinion on the point raised by Mr. Fox, as
  21     topics that you've identified? Or should we just go          21    he suggested we do. And then we'll confer with him
  22     from our notes? I mean that gives us some                    22    about that after that.


                                                       Page 55                                                           Page 57
  1      structure on what to address.                                 1            CHAIR HIRSH: Okay.
  2             CHAIR HIRSH: I understand, but I'm going               2            MR. FOX: But I do request, Mr. Hirsh,
  3      to leave it to you, okay? I'm raising these, you              3    that we have built into the schedule a date by which
  4      know, as I said, as a heads-up. This is something             4    expert reports need to be submitted. And that would
  5      I'm thinking about, so it would help if you address           5    be done in sufficient time to allow me to designate a
  6      it, not as a "you're required to." I'm only one of            6    counter-expert if I deem that necessary.
  7      three people on this panel anyway. I'm just giving            7            CHAIR HIRSH: Okay, so what dates would
  8      you an insight, you know, into what kinds of topics           8    you propose, Mr. Fox?
  9      I'd like people to help explain.                              9            MR. FOX: I would say 30 days out about
  10            And, truly, don't take it as a view on the            10    the time of the witness list.
  11     merits, okay? I haven't decided any of these for             11            CHAIR HIRSH: Okay, so that would be the
  12     either side, okay? You know, I think it's important          12    December 19th date we're using?
  13     to give people the opportunity to make their best            13            MR. FOX: I thought it was the 12th --
  14     case before I make that decision. So that's really           14            CHAIR HIRSH: Oh, right, I'm sorry.
  15     what I'm trying to do.                                       15    December 12th, I'm sorry. I just can't read my
  16            Okay, are there going to be any expert                16    notes, but otherwise it's fine. Any experts will be
  17     witnesses?                                                   17    designated by December 12th, and what's the deadline
  18            MR. MacDOUGALD: Mr. Fox?                              18    for the reports?
  19            MR. FOX: No.                                          19            MR. FOX: I would think the reports by
  20            MR. MacDOUGALD: We may have one or two,               20    December 12th.
  21     Your Honor.                                                  21            CHAIR HIRSH: Okay, designated and report
  22            MR. FOX: Mr. Hirsh, there was an                      22    at the same time?


                                                                                                     15 (Pages 54 to 57)
202-347-3700                                          Ace-Federal Reporters, Inc.                                        866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 18 of 36
                                                         In Re: Jeffrey B. Clark
                                                             October 6, 2022

                                                       Page 58                                                            Page 60
   1            MR. FOX: Yeah, because I can't -- you                  1    but it gives you more time before the hearing.
   2     know, the designation that you get for an expert is           2            MR. FOX: That's fine with me.
   3     "Mr. Jones is going to testify, give his opinion              3            MR. BURNHAM: Your Honor, can I ask a
   4     about," whatever. And I can't make a real                     4    clarifying question? Just to try to avoid any
   5     knowledgeable determination as to whether I need to           5    disputes about whether the, quote, report is
   6     counter that unless I have the meat of the opinion in         6    sufficient, would it be sufficient if we filed
   7     front of me.                                                  7    something consistent with the expert notice provision
   8            CHAIR HIRSH: Alright, so you're talking                8    in Federal Rule of Evidence 16?
   9     about designating an expert with a report on December         9           CHAIR HIRSH: Well, I was thinking --
  10     12th, and then when would a responding expert, or            10    you're talking about the expert notice of a pretrial,
  11     opposing expert need to be designated also with a            11    on the pretrial rule as opposed to an expert report
  12     report?                                                      12    that -- I need to go back and look at it, because the
  13            MR. FOX: I would say, my suggestion                   13    elements of a report -- is there a separate rule on
  14     would be three weeks later. You know, getting an             14    it?
  15     expert report in three weeks is a bit of a push, but         15           MR. FOX: The Superior Court Rule for
  16     it is doable, and that should give the respondents           16    expert reports, which I would submit is more
  17     ample time to prepare to cross                               17    relevant, I think it is 26.
  18            CHAIR HIRSH: Yeah, the difficulty is you              18           CHAIR HIRSH: That's what I was thinking.
  19     are getting into the holidays, but if that isn't a           19    I thought it was Rule 26.
  20     problem -- three weeks after the 12th puts you on the        20           MR. FOX: It could be 28, but I think
  21     day after New Year's, a week before the hearing.             21    it's 26. I'm not --
  22            MR. FOX: Well let's make it the 31st.                 22            CHAIR HIRSH: I thought it was Rule 26.


                                                       Page 59                                                            Page 61
   1            CHAIR HIRSH: The 31st is a Saturday.                   1    Rule 16 is what you need to say in pretrial, for a
   2            MR. FOX: The 30th, then.                               2    pretrial hearing.
   3            CHAIR HIRSH: Does that schedule work                   3            MR. FOX: I would suggest --
   4     with you, Mr. MacDougald?                                     4            CHAIR HIRSH: I once had a case I was
   5            MR. MacDOUGALD: Your Honor, that's --                  5    arguing in the D.C. Circuit on Title 8, and Judge
   6     dealing with the rebuttal expert it's putting us              6    Edwards says, well how would this work under Title 7?
   7     right on the eve of the hearing, and, you know, Mr.           7    You know, there were two statutes four years apart.
   8     Fox's predicament, which I sympathize with, of                8    How does Title 7 work? It was one of these pop
   9     wanting to know the case he's got to confront, is             9    quizzes, right?
  10     going to consist of, is a shoe that was on my foot           10            (Laughter.)
  11     just a few minutes ago.                                      11            CHAIR HIRSH: So, you know, I believe --
  12            CHAIR HIRSH: Alright, what if we moved                12    look, a normal report that would comply with D.C.
  13     it up a week?                                                13    Superior Court rules for the submission of an expert
  14            MR. MacDOUGALD: It makes sense to maybe               14    report, I'm fine with using that as guidance. I just
  15     push the hearing out a little bit to allow any expert        15    don't think it's actually Rule 16 is the right rule
  16     discovery to occur --                                        16    for it, from my off-hand recollection.
  17            MR. FOX: I'll do it earlier rather than               17            MR. BURNHAM: I was referring to the
  18     to push the hearing.                                         18    Federal Rules, but --
  19            CHAIR HIRSH: I prefer to do it earlier.               19            CHAIR HIRSH: It's hard to track it, but
  20     Why don't we have the expert designation on the 5th          20    I would look at the D.C. Circuit Court rules.
  21     instead of the 12th and make it December 23rd instead        21            MR. BURNHAM: Thank you, Your Honor.
  22     of the 30th. That gives you the same amount of time,         22            MR. FOX: It is Rule 26.


                                                                                                     16 (Pages 58 to 61)
202-347-3700                                          Ace-Federal Reporters, Inc.                                         866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 19 of 36
                                                           In Re: Jeffrey B. Clark
                                                               October 6, 2022

                                                         Page 62                                                              Page 64
  1             CHAIR HIRSH: That's what I thought.                      1    non-Touhy Touhy letter. But for us, if we get an
  2             MR. FOX: 26 A-2, I think.                                2    ex-DOJ employee under subpoena, we are for sure going
  3             CHAIR HIRSH: You passed the quiz.                        3    to trigger the full panoply of Touhy review. And,
  4             (Laughter.)                                              4    you know, so I want to come back to a antecedent of
  5             CHAIR HIRSH: Okay. Alright, we've                        5    questions about that in just a second, but we don't
  6      talked about experts. Now let's go back to some of              6    know how long that's going to take, or how it's going
  7      the points that Mr. Clark has raised about discovery            7    to come out. But, you know, just looking at which
  8      issues. Okay?                                                   8    way the wind blows we are not expecting DOJ to be
  9             First of all, I don't know if it's Mr.                   9    helpful to us in that process.
  10     MacDougald or Mr. Burnham, but let me start with Mr.           10           CHAIR HIRSH: Let me separate out a few
  11     Fox for a second.                                              11    different things.
  12            Have you made Touhy requests to the                     12           First of all, you mentioned the Law
  13     Justice Department in connection with calling Mr.              13    Enforcement Privilege?
  14     Rosen and Mr. MacDougald?                                      14           MR. MacDOUGALD: Yes.
  15            MR. FOX: Oh, yeah, I have. That's been                  15           CHAIR HIRSH: Okay, to the extent this is
  16     done for more than a year. And I've supplied copies            16    an issue so far as what I would expect to hear, or
  17     of the letters to Mr. Clark's counsel.                         17    the panel would expect to hear at the hearing,
  18            MR. MacDOUGALD: And -- the DOJ -- we                    18    address it in your pretrial brief. You know, again
  19     objected to the sufficiency of whether they complied           19    it's not a pop quiz. But if this is something we
  20     with the Touhy regulations, because the letter we got          20    need to handle in some way, and alternatively put
  21     back didn't reflect that. And we got a letter back             21    aside whether it's a privilege about asking a
  22     from DOJ that said, well, actually, we're not                  22    question, if the DOJ or somebody else is going to ask


                                                         Page 63                                                              Page 65
  1      required to go through the Touhy regulation process             1    that a portion of this hearing take place under seal
  2      because this request from Mr. Fox did not trigger               2    or confidentially, or if something that comes up --
  3      those regulations, because it was just a request and            3             MR. MacDOUGALD: I don't know that it is.
  4      not a subpoena, demand or order.                                4             CHAIR HIRSH: Okay, I'm just saying
  5             CHAIR HIRSH: Okay.                                       5    that's something I would want to know about in
  6             MR. MACDOUGALD: But there is a letter                    6    advance so we can figure it out.
  7      from DOJ, authorizing these witnesses to give                   7             MR. MacDOUGALD: And, you know, that's
  8      information to the DC Bar. They reserve the right to            8    why we put it in our material file Monday. We wanted
  9      review what testimony might be given publicly and               9    to raise the flag that the whole point of the Touhy
  10     potentially assert their position on what testimony            10    regulations is to permit the Executive Branch to put
  11     they think should be excluded. And as I mentioned              11    forth equities with respect to the evidence being
  12     earlier, in the Senate Judiciary Committee                     12    sought. And those equities run the gamut of Executive
  13     depositions, there were quite a number of objections           13    Branch privileges from Executive Privilege, to Law
  14     based on law enforcement privilege concerning DOJ's            14    Enforcement Privilege, Deliberative Process
  15     investigations of the election.                                15    Privilege, Presidential Communications Privilege, and
  16            So that issue may come up again.                        16    on and on. There's a whole panoply of those.
  17            CHAIR HIRSH: Okay.                                      17             And that process is intended to establish
  18            MR. MacDOUGALD: And, you know, if these                 18    a rigorous procedure for evaluating those questions.
  19     witnesses are going to appear not under subpoena, you          19    And we know from the Senate Judiciary Transcripts
  20     know, presumably the DOJ position would be that the            20    that they are asserting Law Enforcement Privilege
  21     Touhy regulations were still not triggered.                    21    with respect to most of the universe of topics that
  22            So, you know, we've been calling that a                 22    would be embraced by investigation of the election.


                                                                                                       17 (Pages 62 to 65)
202-347-3700                                             Ace-Federal Reporters, Inc.                                          866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 20 of 36
                                                        In Re: Jeffrey B. Clark
                                                            October 6, 2022

                                                      Page 66                                                                Page 68
   1      They were only permitted testimony in a couple of           1           MR. MacDOUGALD: Okay, very good.
   2      narrow areas.                                               2           CHAIR HIRSH: As far as -- okay, now as
   3              And inasmuch as Mr. Fox has indicated that          3    far as the remaining, you talk about one or more DOJ
   4      a premise of his case is that there's no basis for          4    witnesses. One or more who might be out of town is
   5      further investigation because Mr. Clark was told that       5    what you say in this.
   6      by his superiors, well then it becomes relevant to          6           First of all, have you submitted a -- have
   7      know to get behind that.                                    7    you identified who it is you're talking about?
   8              CHAIR HIRSH; Okay, as I said, address               8           MR. MacDOUGALD: We have spent a good bit
   9      that in the briefs. I don't want to cut you off from        9    of time trying to identify those people. And we hope
  10      responding --                                              10    to have that finalized relatively soon.
  11              MR. MacDOUGALD: And I apologize for                11           But I would like to ask an embarrassingly
  12      going over.                                                12    dumb question, Mr. Chairman. And that is, whether
  13              CHAIR HIRSH: No, that's no problem. I              13    the subpoena from the Board is something that we can
  14      just don't-- I want to focus on this at a time when I      14    use through the Uniform Foreign Deposition Act to get
  15      have enough information to do something intelligent        15    witnesses under subpoena in foreign jurisdictions?
  16      about it, as opposed to going -- I appreciate it's an      16    And I apologize. I just don't know the answer to
  17      issue. I don't know how big an issue it is, or             17    that question.
  18      whether, if it is an issue we need to figure out how       18           CHAIR HIRSH: Well, okay, Mr. Fox, I
  19      to work with it.                                           19    don't know for sure but I imagine the answer is
  20              MR. MacDOUGALD: It can have a serious              20    'yes,' but I'll ask Mr. Fox.
  21      consequence on whether we are able to put on our           21           MR. FOX: It varies from jurisdiction to
  22      defense.                                                   22    jurisdiction. But I think the cart is considerably


                                                      Page 67                                                                Page 69
  1             CHAIR HIRSH: Now let me -- so far as                  1    in front of --
  2      discovery is concerned, first of all I assume you've         2               CHAIR HIRSH: No, I think you're about
  3      already gotten the Rule 3.1 discovery and access to          3    four steps before we get there, but -- but let me
  4      Mr. Fox's files?                                             4    start with the steps and understand it.
  5             MR. MacDOUGALD: We have been provided                 5               First of all, are you talking about -- I
  6      some documents from his files. He's asserted work            6    gather from your statement of subpoena you're talking
  7      product privileges with respect to certain categories        7    about people who would not voluntarily agree to
  8      of information. Some of that we agree with, and some         8    testify.
  9      of that we don't. So rather than try to argue that           9               MR. MacDOUGALD: Well, if they are former
  10     here, would the appropriate vehicle then be to file a       10    DOJ employees, Mr. Chairman, they're not permitted to
  11     motion with the court, or do a meet-and-confer with         11    testify under subpoena --
  12     Mr. Fox antecedent to a motion?                             12               CHAIR HIRSH: There are Touhy
  13            How would you like us to handle that?                13    regulations, just as Mr. Fox is dealing with.
  14            CHAIR HIRSH: Do a meet-and-confer. I'd               14               MR. MacDOUGALD: Okay, fine.
  15     like you to do these things as expeditiously as             15               CHAIR HIRSH: But whether the witness
  16     possible, to use a lawyer word, as fast as possible,        16    insists on getting a subpoena to testify is a
  17     you know, and not have this be a reason for delay.          17    question for the witness. So are we first talking
  18            MR MacDOUGALD: Okay.                                 18    about people who -- is the issue that these are
  19            CHAIR HIRSH: And so talk about it. If                19    current or former DOJ employees and we have a
  20     you've got a dispute over whether you've gotten             20    regulatory system that gives the Justice Department
  21     access under 3.1, you can file a motion to me and I         21    the prior notice and ability to weight in, to put it
  22     will consider it.                                           22    in simple terms, you know, into whether there's a


                                                                                                        18 (Pages 66 to 69)
202-347-3700                                         Ace-Federal Reporters, Inc.                                             866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 21 of 36
                                                          In Re: Jeffrey B. Clark
                                                              October 6, 2022

                                                      Page 70                                                             Page 72
   1     problem with having this person testify about these            1    the requirements.
   2     subjects? That is how I understand the Touhy                   2           It's different if you're seeking a
   3     regulations to operate.                                        3    subpoena for participation at the hearing. So which
   4            Are we talking about people who you don't               4    is it you're seeking?
   5     think would be going to testify unless they were               5           MR. MacDOUGALD: I can't say exactly
   6     subpoenaed?                                                    6    right now. It depends. We have not talked to these
   7            MR. MacDOUGALD: The truthful answer,                    7    people. And, you know, many of them have lawyers and
   8     Your Honor, is I don't know.                                   8    we're in a very fraught environment for people who
   9            CHAIR HIRSH: Okay. And --                               9    talk about these topics, because there are criminal
  10            MR. FOX: Mr. Hirsh, could I interject.                 10    investigations going on. And so people -- we expect
  11     I apologize, but could I ask a clarifying question?           11    people to be reluctant to testify.
  12     Are we talking about witnesses to testify at the              12           But, you know, we just haven't had time to
  13     hearing? Or are we talking about discovery                    13    identify those. Now we will expeditiously find out
  14     depositions?                                                  14    where we stand on that, and we'll just have to make a
  15            CHAIR HIRSH: This is the next question I               15    call about whether we try to depose them or now. And
  16     was going to ask.                                             16    the way ya'll will know is we file motion for a
  17            MR. MacDOUGALD: Well, we would like to                 17    discovery subpoena.
  18     take their depositions so we can figure out whether           18           I apologize for not being able to answer
  19     we want to use them at the hearing. That may                  19    that. I know it's a great question and we have been
  20     streamline the hearing.                                       20    giving that some thought, but we're just not resolved
  21            CHAIR HIRSH: Alright. That's a good                    21    on that at the moment.
  22     question. The reason it's a good question is the              22           CHAIR HIRSH: Okay. Here's what I'd like


                                                      Page 71                                                             Page 73
   1     rules operate very differently with respect to                 1    you to do. Alright? First of all, I don't want this
   2     requesting people to attend the hearing and getting            2    to delay things, okay? If you need to make a Touhy
   3     discovery. Okay?                                               3    request, I take at face value you don't know how long
   4            MR. MacDOUGALD: Right.                                  4    the Justice Department will take with the request, or
   5            CHAIR HIRSH: "Discovery" is actually                    5    what kind of reaction you'll get, or you may fear a
   6     kind of the wrong word for this proceeding, okay, of           6    negative reaction. I understand that. But nothing
   7     third parties. There are proceedings to ask for                7    happens until you submit.
   8     information from each other, okay? You know, from a            8            So you need to submit the request as soon
   9     Discipliinary Counsel respondent, there's 3.1. There           9    as possible so that you can start the process, you
  10     are ways of getting information from the respondent.          10    know. Then you can come back to me later and tell me
  11            As far as third-party discovery, that's                11    what a problem it is, and then we can try to figure
  12     under 3.2. And 3.2 has a standard that is far from            12    out what to do about it, and whether it affects
  13     automatic.                                                    13    anything.
  14            MR. MacDOUGALD: Right.                                 14            But, you know, in the abstract, telling me
  15            CHAIR HIRSH: But basically it's -- you                 15    I'm going to do something and I haven't done it yet
  16     have to demonstrate a compelling need for the                 16    and it's going to be a problem, doesn't tell me what
  17     additional discovery in the preparation of the                17    the problem is. Okay?
  18     defense, and that such discovery is not an undue              18            So it needs to be concrete. You need to
  19     burden on the complainant or others. That's the               19    submit the Touhy request for anybody you think might
  20     standard under 3.2. So it's far from automatic that           20    be covered by the Touhy regulations as quickly as
  21     you can get discovery in this proceeding, and you             21    possible. And you need to come as quickly as
  22     need to file a motion to demonstrate that you meet            22    possible to a conclusion as to whether you want to


                                                                                                       19 (Pages 70 to 73)
202-347-3700                                         Ace-Federal Reporters, Inc.                                         866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 22 of 36
                                                             In Re: Jeffrey B. Clark
                                                                 October 6, 2022

                                                           Page 74                                                         Page 76
  1      try to -- you know, whether you think the                         1             CHAIR HIRSH: Okay.
  2      circumstances meet 3.2, and submit a motion so that I             2             Alright, now so far as documents are
  3      can, you know, give Mr. Fox an opportunity to respond             3    concerned, Mr. Fox, have you now gotten from Mr.
  4      and act on.                                                       4    Clark -- let me phrase it this way: Do you anticipate
  5             I will tell you, in fairness, I will try                   5    hiring something to try to get additional documents
  6      to act quickly. You know, I recognize that if I'm                 6    from Mr. Clark?
  7      putting counsel under a time limitations. I will try              7           MR. FOX: Yes, and that was on my list of
  8      to put myself -- you know, I can't always promise                 8    things to raise. We are going to take the court's
  9      where I'm going to be on Tuesday. Nobody can. But I               9    suggestion and serve a subpoena on Mr. Clark under
  10     will try to act quickly on these, because I                      10    Rule 45, simply for documents. It will pretty much
  11     understand about the timing, but I can't act on                  11    track the -- I'm not saying we won't tweak it here or
  12     something that's not been filed.                                 12    there -- but pretty much track the subpoena we served
  13            MR. MacDOUGALD: That's completely fair,                   13    earlier. Essentially what we're asking for is any
  14     and we will do as instructed.                                    14    documents that he has that support the position that
  15            MR. FOX: May I make two observations?                     15    he took that there was evidence of -- I forget
  16     One is, it is conceptually difficult for me to                   16    whether he phrased it in terms of fraud or
  17     conceive of a situation where the respondent has a               17    irregularities -- in the Georgia election. And I
  18     compelling need to take discovery from a witness                 18    wanted to inquire whether it was going to be
  19     when they can't -- at this date, haven't even                    19    necessary to actually serve Mr. Clark with that
  20     identified the witness.                                          20    subpoena, or whether counsel, in light of your
  21            The second is to just call to everyone's                  21    admonitions earlier, would accept service.
  22     attention Rule 3.5, which says that discovery                    22         Heretofore, counsel has been unwilling to


                                                           Page 75                                                         Page 77
  1      requests are not an excuse to delay the proceedings.              1     accept service, and indeed requiring us to tender a
  2             CHAIR HIRSH: I agree. I mean, I                            2     check when there is no anticipation that Mr. Clark
  3      understand those point. I want to give Mr. Clark the              3     would actually have to appear and testify.
  4      opportunity to try to get -- you know, to try to do               4             CHAIR HIRSH: Okay, so you anticipate
  5      what he wants to do. And if he wants to make an                   5     you're going to serve him with a subpoena and there
  6      argument you disagree with as to whether a particular             6     might be a fight over it?
  7      thing is needed, I will hear both sides.                          7             MR. FOX: Right. The first thing is I
  8             And just as you can't respond to anything,                 8     would like to inquire through the Chair whether
  9      knowing it I can't decide in advance of knowing it                9     counsel will accept the subpoena on behalf of Mr.
  10     who's right.                                                     10     Clark. If not, we will serve him promptly and we'll
  11            So the other thing I might add ultimately                 11     get the subpoena out in a day or so. Then if there's
  12     on the subpoena, and Mr. Fox perhaps you can confirm,            12     a fight, there's a fight.
  13     but my understanding is that a subpoena when it is               13             MR. MacDOUGALD: We'll accept service.
  14     issued, includes 25 miles from D.C. It's not just                14             CHAIR HIRSH: You will?
  15     limited to D.C. I don't know whether all -- any of               15             MR. MacDOUGALD: Yes.
  16     these people are in the D.C. area, but that may                  16             CHAIR HIRSH: Okay. Well that solves
  17     simplify your process. It follows Superior Court                 17     that part of the problem. And we'll figure out if
  18     Rule 45.                                                         18     there's a fight over the scope of the production,
  19            MR. MacDOUGALD: It helps with some                        19     I'll say the same thing to you.
  20     folks. It doesn't help with others. With others                  20             MR. FOX: Mr. Hirsh, could I --
  21     we're going to have to get a subpoena issued in their            21             CHAIR HIRSH: Raise it quickly so that we
  22     home jurisdiction.                                               22     can get this thing resolved and so that it doesn't,


                                                                                                        20 (Pages 74 to 77)
202-347-3700                                               Ace-Federal Reporters, Inc.                                     866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 23 of 36
                                                      In Re: Jeffrey B. Clark
                                                          October 6, 2022

                                                    Page 78                                                               Page 80
   1      you know, foster additional delay.                        1    session to discuss whether to make a preliminary
   2              Okay, the other sort of category I had            2    nonbinding determination that Disciplinary Counsel
   3      just to discuss things are some comments just to          3    has proven at least one rule violation by clear and
   4      bring to your attention about how the hearing, how I      4    convincing evidence. And if that determination is
   5      am anticipating at this point the hearing is going to     5    made, the parties are then asked to put on evidence
   6      be handled, just to give you some sense of it.            6    from the Disciplinary Counsel's side, things like
   7              I expect the format on the docs, you know,        7    prior disciplines, if any, or that might be
   8      the exhibits and stuff follow the rules. The rules        8    aggravating from the side of a respondent, mitigating
   9      describe how the exhibits are to be formatted and all     9    evidence that might be taken into account in
  10      of that stuff.                                           10    determining the sanctions.
  11              I told you I don't know if the hearing           11          And one of the things that I want people
  12      will be live or remote. I will, even though we have      12    prepared to think about, although I don't know we've
  13      pretrial briefs, you know, things come up in the         13    reached a determination, I don't know if it will ever
  14      briefs or whatever, I am hoping and expecting that       14    be reached, but because this happens immediately at
  15      people will be conversant and ready to discuss, you      15    the hearing, I want people to think through what
  16      know, how the facts apply to the law, to put it that     16    sanction might be appropriate so that we can discuss
  17      way, at the hearing.                                     17    that intelligently if there is such a finding.
  18              I don't mean we're going to have a               18            One of the things that from time to time
  19      four-day legal argument over everything I'm not          19    happens in these cases that I don't think is ideal is
  20      anticipating that, but sometimes what happens at         20    that people say, okay, well now we have the evidence
  21      these hearing is you raise issues and I say, well,       21    and this is basically what we do, and we'll tell you
  22      that's a really interesting point, we'll address it      22    in the brief what we think the sanctions ought to be


                                                    Page 79                                                               Page 81
   1     in the post-hearing brief. And while I am absolutely       1    or oughtn't to be, and that leads to less ability for
   2     contemplating, you're going to be filing post-hearing      2    the parties to joint the issue properly and explain
   3     briefs, and you don't need to give every point 12 of       3    why they're thinking about it. And, you know, we
   4     your argument, you know, and all this stuff, I want        4    need to do the work to construct the parties'
   5     you to be prepared particularly in this case because       5    arguments and think it through. And it is more
   6     there are a lot of issues that are out there, you          6    useful if I know at the hearing, if we get to that
   7     know, to have thought through these. And that was          7    point which we may not, what the parties' views are
   8     part of the reason why I was giving you some, you          8    and what an appropriate sanction would be.
   9     know, sense of my very initial kind of sense of            9             So just as in a civil case, this is a
  10     issues.                                                   10    naturally bifurcated proceeding. But in a civil case
  11           Now the normal procedure at the hearing is          11    where you think you're going to win on liability, you
  12     that ODC gives an opening statement. They of course       12    still make arguments about damages. I want people to
  13     have the burden of proof as Disciplinary Counsel.         13    be prepared to do that so that we have all the
  14     And then Mr. Clark will be given the opportunity to       14    information. That will make it easier for us to
  15     give a statement, but he isn't required to give an        15    understand your post-hearing briefs.
  16     opening statement.                                        16             And, you know, we can set the timing of
  17            And also the normal procedure in our               17    the post-hearing briefs at the hearing. I don't need
  18     rules, which has nothing specific to Mr Clark, but        18    to do that in advance. But I wanted to give people a
  19     under Rule 11.11, is that you hear the testimony,         19    warning so that they could prepare.
  20     once everybody rests on providing the testimony on        20             Are there any thoughts or concerns about
  21     whether there has been a violation.                       21    that?
  22           Our Committee recesses to executive                 22             MR. FOX: Mr. Hirsh, normally -- one of


                                                                                                    21 (Pages 78 to 81)
202-347-3700                                        Ace-Federal Reporters, Inc.                                           866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 24 of 36
                                                           In Re: Jeffrey B. Clark
                                                               October 6, 2022

                                                          Page 82                                                            Page 84
   1      the reasons that we -- and it doesn't apply to this            1    mentioned it in our filing Monday. We are going to
   2      case -- but one of the reasons that we sometimes and           2    do everything that you told us to do, but I want to
   3      sometimes do not make a final determination --                 3    be clear that we are still considering our options on
   4      recommendation about sanction at the hearing is that           4    that.
   5      I want them to confer with me before they do so, and           5          CHAIR HIRSH: Okay, I understand you're
   6      I want to confer in light of how the evidence came             6    considering the options. Just so, you know, from
   7      out at the hearing.                                            7    your standpoint understand I'm going to continue to
   8              That is not going to be a factor here,                 8    do this on the schedule we're dealing with, unless
   9      since I'll be involved in the hearing and I will know          9    somebody tells me not to.
  10      that, and so I will certainly be able to address the          10         MR. MacDOUGALD: That is understood.
  11      issue of sanctions at the appropriate time.                   11            CHAIR HIRSH: I am planning to do that.
  12              But I do want to understand that it's not             12            MR. MacDOUGALD: We understand, thank
  13      that we sort of duck that issue, it's that I, as the          13    you.
  14      person in charge of the office, want to weigh in on           14            MR. BURNHAM: One final thing, Mr.
  15      it. And that's the reason for the hesitation. It              15    Chairman. To the extent that the Hearing Committee
  16      won't be a factor here because I'll be trying the             16    is on the fence as to whether to do this as an
  17      case.                                                         17    in-person or entirely virtual, I think our side would
  18              CHAIR HIRSH: Okay. We can discuss that                18    have a preference for in-person, if public health
  19      in other cases. I understand we all operate under             19    conditions permit.
  20      constraints, but it is sometimes -- it is sometimes           20           CHAIR HIRSH: Okay, I'm not sure it's
  21      difficult when you're doing a long opinion in a               21    going to be my decision -- I don't know. Mr. Fox, I
  22      complex case to have to wait for the briefs to figure         22    don't know what you --


                                                          Page 83                                                            Page 85
   1     out, okay, so you say A, B, and C is the reason to do           1           MR. FOX: I don't have any intelligence
   2     this, and, you know, it would have been helpful. And            2    on that. We're operating under an Order from the
   3     effectively we don't get an opportunity to talk it              3    Board that is still in existence about that we do
   4     through.                                                        4    these things virtually. My preference also is to do
   5            So the type of questioning you might want                5    them face to face, if it is possible. But so far,
   6     to do, and sometimes sanctions is particularly that             6    the Order is that we conduct them this way.
   7     because sanctions is a judgmental comparison of isn't           7           CHAIR HIRSH: Okay, I appreciate it. Mr.
   8     this worse than this, and this, and this, you know,             8    Fox, do you have anything else?
   9     and not as bad as that. We don't have that type of              9           MR. FOX: No, I have nothing further.
  10     ability to do those interchanges with the schedule.            10           CHAIR HIRSH: Okay, Mr. MacDougald or Mr.
  11     So that's why I raise it. Okay, unless -- I think              11    Burnham?
  12     that's all the things I had. Obviously, I'll issue             12           MR. BURNHAM: I don't think so. Thank
  13     an Order based on this. Are there other things that            13    you, Your Honor.
  14     people want to discuss?                                        14           MR. MacDOUGALD: Thank you very much,
  15            MR. MacDOUGALD: Yes, Your Honor. We                     15    Your Honor. We very much appreciate your time and
  16     would like to order an expedited transcript from the           16    attention.
  17     Court Reporter.                                                17           MR. FOX: Thank you, Your Honor.
  18            CHAIR HIRSH: Okay.                                      18           CHAIR HIRSH: As far as the transcript, I
  19            MR. MacDOUGALD: And returning to the                    19    don't know, Mr. Catherine, whether -- what's your --
  20     point that I raised initially, if we do seek a                 20    I can't, you know. I heard that you ordered an
  21     judicial review that may impact the schedule. And we           21    expedited transcript, but since I'm not doing the
  22     want to be up front about that. That is why we                 22    work, it's easier --


                                                                                                        22 (Pages 82 to 85)
202-347-3700                                          Ace-Federal Reporters, Inc.                                           866-928-6509
       Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 25 of 36
                                                        In Re: Jeffrey B. Clark
                                                            October 6, 2022

                                                      Page 86                                                             Page 88
  1             (Laughter.)                                           1              CERTIFICATE OF COURT REPORTER
  2             COURT REPORTER: Yes, we can provide                   2

  3      that, but I'm not sure if it goes through Meghan or          3    I, GAYNELL CATHERINE, Court Reporter, do hereby
  4      should we give the information to order directly to          4    certify that that the testimony contained herein is a
  5      Mr. MacDougald.                                              5    true record of the testimony given by said witness,
  6             MS. BORRAZAS: I guess my question would               6    and I further certify that I am neither attorney nor
  7      be how fast do you want it? Typically we do 10               7    counsel for, related to, or employed by any of the
  8      business days.                                               8    parties to the action in which this statment is
  9             MR. MacDOUGALD: We might need it a                    9    taken; and, further, that I am not a relative or an
  10     little quicker than that.                                   10    employee of any attorney or counsel employed by the
  11            MS. BORRAZAS: It depends on -- pricing               11    parties hereto, or financially interested in the
  12     depends on the day. So just how fast you would like         12    action.
  13     it, just let me know.                                       13

  14            MR. MacDOUGALD: We'll send you an email.             14

  15            MS. BORRAZAS: Okay, great.                           15

  16            CHAIR HIRSH: Alright, then. Is there                 16    GAYNELL CATHERINE
  17     anything else?                                              17

  18            MR. MacDOUGALD: I don't think so.                    18

  19            MR. FOX: Not from me.                                19

  20            CHAIR HIRSH: And I assume if any of the              20

  21     executive attorney people on this had something I           21

  22     needed to do, they would have sent me something in          22



                                                      Page 87
   1      chat with lots of exclamation points or something, so
   2      I assume we are --
   3             MR. MacDOUGALD: You get those, too.
   4             (Laughter.)
   5             CHAIR HIRSH: Okay, so in that case we're
   6      adjourned.
   7             (Whereupon, at 11:14 a.m., Thursday,
   8      October 6, 2022, the hearing was adjourned.)
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22



                                                                                                     23 (Pages 86 to 88)
202-347-3700                                         Ace-Federal Reporters, Inc.                                         866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 26 of 36
                                           In Re: Jeffrey B. Clark
                                               October 6, 2022
                                                                                                   Page 89

            A              ago 28:13 56:5 59:11         areas 66:2                               B
 A-2 62:2                  agree 3:1 13:10 28:14        argue 8:8 11:19 67:9        B 1:3,21 2:16 83:1
 a.m 2:2 87:7                29:2 67:8 69:7 75:2        argued 36:17                back 6:1 12:4 26:17
 ability 4:9 29:21 69:21   agreement 23:14              arguing 10:4 61:5             30:22 37:17 41:9,18
   81:1 83:10              ah-ha 42:3                   argument 17:20 35:9,15        50:12 54:3 60:12 62:6
 able 10:2 29:7 30:22      ahead 30:1 49:18 52:7          47:2 48:7 53:4,6,8,10       62:21,21 64:4 73:10
   40:15 50:5 66:21 72:18 alert 48:3                      75:6 78:19 79:4           back-and-forth 52:17
   82:10                   alleged 18:2                 arguments 10:16 11:5        backwards 30:4
 absolutely 36:3 79:1      allow 3:22 54:13 57:5          34:1 35:14 39:5 50:3      bad 6:4 31:14 53:9 83:9
 abstract 73:14              59:15                        52:17 53:1 81:5,12        Bar 34:6 46:14,15,16
 accept 22:12 76:21 77:1,9 alright 6:8 12:2 14:19,22    articulate 40:15 50:5         63:8
   77:13                     22:17 25:18 27:5,15        articulating 42:3 45:18     Barr 40:11
 access 3:14 13:19 47:1      28:22 29:4 37:16 51:6,7    aside 28:20 64:21           based 12:13 18:16 63:14
   67:3,21                   58:8 59:12 62:5 70:21      asked 9:6,7 13:13 14:22       83:13
 accommodate 25:5,11         73:1 76:2 86:16              80:5                      basic 14:2
 account 80:9              alternatively 64:20          asking 9:19 22:20 64:21     basically 45:7 71:15
 accounts 38:12            amend 30:22                    76:13                       80:21
 accurate 15:16 17:12      amount 20:13 59:22           aspect 45:14 46:5           basis 39:21 41:8 49:10,17
 accurately 4:8            ample 58:17                  aspects 45:1,4                49:18 66:4
 act 49:19 68:14 74:4,6,10 answer 34:13 38:8 43:9       assert 63:10                behalf 77:9
   74:11                     44:14 50:7 68:16,19        asserted 51:20 67:6         belabor 22:4
 acting 21:6 49:7            70:7 72:18                 asserting 65:20             believe 15:13 16:3,18
 action 46:8 88:8,12       answers   47:16              Assistant 1:15                61:11
 activity 43:18,19         antecedent   64:4 67:12      associated 14:7             best 4:8 22:8,9 31:20
 add 42:10 75:11           anticipate  76:4 77:4        assume 7:12 26:8 34:13        55:13
 addition 10:14 37:6       anticipating  15:10  78:5      39:5 67:2 86:20 87:2      better 7:15 26:13 29:22
 additional 18:22 21:15      78:20                      assuming 7:18 27:9 50:22      50:5
   25:21 27:10 41:11       anticipation 77:2            assumption 20:16            beyond 40:3
   47:12 48:2 71:17 76:5   anybody 25:13 73:19          Atlanta 41:13               bifurcated 81:10
   78:1                    anybody's 21:9               attempt 38:13,21 41:9       big 66:17
 address 5:22 36:2,4 37:14 anyway 55:7                    49:21                     bit 28:12 35:7,7 37:17
   45:3 49:4 55:1,5 64:18  apart 61:7                   attempted 18:2 38:19          52:20 58:15 59:15 68:8
   66:8 78:22 82:10        apologize 4:18 66:11           40:16 41:18 43:1,4,6      block 15:12 21:16 25:19
 addressed 8:10 51:19        68:16 70:11 72:18            49:8                        27:7
   53:22                   Appeals   2:18 7:3 8:5 9:3   attempting 44:1             blocked 21:3
 addressing 41:14            10:20,22   11:7 42:17      attempts 38:14              blocking 21:17
 adequate 16:4               56:5                       attend 71:2                 blows 64:8
 adjourned 87:6,8          appear 63:19 77:3            attention 35:18 74:22       board 1:1,3 2:15 3:15 7:2
 adjust 28:5               appearances 2:13 3:10          78:4 85:16                  7:11 8:12 10:2 11:2
 adjustments 3:8             4:15                       attorney 40:10 41:13          42:15 68:13 85:3
 administration 38:16      appearing   5:7,9              45:6,8,12 49:7 53:6,10    Board's 7:10 8:2
   43:2,4,5                appears  8:14                  86:21 88:6,10             BORRAZAS 86:6,11,15
 Administrative 44:17      application 46:12            audience 53:2               boss 45:5
 admitted 34:5,8,10,12     applied 7:10,22              authenticity 33:2           box 43:8
 admonitions 76:21         applies 8:19                 authorities 9:22            Branch 65:10,13
 advance 28:20 65:6 75:9   apply 40:20 46:7,22          authority 7:1 10:5          brief 34:15 36:9 47:18
   81:18                     78:16 82:1                 authorizing 63:7              52:12 53:20 54:4,5
 advanced 50:3             appointed   45:21            automatic 71:13,20            64:18 79:1 80:22
 advantage 33:12           appreciate 6:7 41:21         avail 22:22 23:1            briefing 34:21 36:20 37:7
 advice 39:7 49:6 50:4       66:16 85:7,15              availability 24:19 25:1,2     39:2 44:21 47:10,12,12
 advise 46:10              apprise  40:6                available 23:6 24:9           49:3 53:17
 affect 15:11 48:10,11     approach   21:2              average 19:20               briefly 52:9
 affirm 4:4,5,6,7          appropriate   19:1 56:8      avoid 25:21 60:4            briefs 33:16 35:4 36:1,6
 affirmative 44:14           67:10 80:16 81:8 82:11     avoiding 34:1                 37:22 48:2 51:10,13,19
 agency 8:21               arbitrarily 21:13            aware 29:12                   52:20 54:12 66:9 78:13
 aggravating 80:8          area 45:17 75:16                                           78:14 79:3 81:15,17


202-347-3700                             Ace-Federal Reporters, Inc.                             866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 27 of 36
                                            In Re: Jeffrey B. Clark
                                                October 6, 2022
                                                                                                  Page 90

   82:22                       14:21 16:5,17 19:9          77:10 79:14,18          concrete 73:18
 bring 11:10 78:4              21:22 28:22 34:12 35:1    Clark's 18:5 28:3 34:15   conditions 84:19
 bringing 46:9                 36:22 37:4,9,11,16 39:1     39:3 62:17              conduct 39:6,19 49:10
 broad 53:22                   41:21 42:10 44:6 47:15    Clayman 56:6                85:6
 brought 39:16                 47:16,22 50:8,18 51:5     clear 11:18 44:20 45:9    conducts 3:12
 build 56:11                   52:11,15 54:10,17 55:2      47:10 49:1 50:10,21     confer 54:4,11 56:21 82:5
 built 57:3                    56:18 57:1,7,11,14,21       80:3 84:3                 82:6
 burden 50:10,20 71:19         58:8,18 59:1,3,12,19      clearly 4:1 43:15         conference 2:22 3:13
   79:13                       60:9,18,22 61:4,11,19     clock 20:20               confidentially 65:2
 Burnham 1:17 5:7,7 27:6       62:1,3,5 63:5,17 64:10    close 35:20,21 54:15      confirm 75:12
   27:14 32:9 52:5,8 60:3      64:15 65:4 66:8,13 67:1   closer 21:20              confirmed 25:2
   61:17,21 62:10 84:14        67:14,19 68:2,18 69:2     coerce 41:18              conflict 25:14
   85:11,12                    69:12,15 70:9,15,21       coercive 41:9             confront 59:9
 business 23:16 86:8           71:5,15 72:22 75:2 76:1   Columbia 2:18,19 28:16    connection 44:21 46:6
 buy 37:4 53:7                 77:4,8,14,16,21 82:18       43:12 46:19               62:13
                               83:18 84:5,11,20 85:7     combination 38:13         consequence 66:21
              C                85:10,18 86:16,20 87:5    come 10:7 13:13 21:21     conservative 15:15
 C 2:1 38:20 83:1            Chairman 5:22 6:6 8:8         25:15 29:14,19 30:22    consider 13:5 67:22
 calendar 15:9 54:3            9:10 17:18 27:6 32:14       31:21 63:16 64:4,7      considerably 68:22
 call 13:4 29:11 72:15         50:13 54:19 68:12           73:10,21 78:13          considerations 15:3
   74:21                       69:10 84:15               comes 12:4 20:1 25:22     considered 9:21 11:1
 called 5:15 43:12           challenge 29:16 49:8          31:6 33:7 65:2          considering 9:4 56:2 84:3
 calling 56:3 62:13 63:22    challenges 7:6 8:15         comment 28:13 36:13         84:6
 career 14:13 20:2           challenging 49:5              41:1,5 44:7,10          consist 59:10
 careful 14:5                chance 56:16                commented 22:10           consistent 60:7
 carry 8:16                  change 18:9 34:18 47:20     commenting 52:4           Constitution 44:16
 cart 68:22                  changed 17:19               comments 52:16 78:3       constraints 9:1 11:20
 case 7:13,16 9:6 15:14,20   characterization 39:3       commitment 16:15            82:20
   16:4,9,19 17:11,16,20     charge 82:14                commitments 15:5          construct 81:4
   17:22 19:6,10,11 20:4,7   charges 18:2 38:11 39:18    committee 1:8 2:17,21     consulted 24:5
   21:10 22:7,11 26:10       Charles 1:17 5:7 32:7         7:11 12:7 13:6 17:1,4   contact 41:12
   31:19 32:19,22 33:1         52:7                        18:13 30:17 32:16       contained 88:4
   36:16 37:21,21 38:2,21    chat 87:1                     42:11 63:12 79:22       contemplate 8:15
   39:16 40:5 43:11 46:17    check 77:2                    84:15                   contemplating 79:2
   48:18 51:12 55:14 56:6    chess 20:20                 Committees 8:13           contend 43:17
   59:9 61:4 66:4 79:5       Christmas 34:22             communications 47:1       context 28:11 32:22
   81:9,10 82:2,17,22 87:5   Circuit 61:5,20               65:15                     43:18 45:10 47:19
 cases 3:8 28:12 33:16       circumstance 21:14          Company 7:15                48:20
   38:2 42:5 80:19 82:19     circumstances 74:2          compared 31:3             continuation 26:3
 catch 27:8                  cite 44:15                  comparison 18:3 83:7      continue 3:9 11:10 26:14
 categories 67:7             cited 7:4,16 10:1,21        compelling 71:16 74:18      51:6 84:7
 category 78:2               Citizens 7:15               complainant 71:19         continuing 40:14
 Catherine 4:3,13 85:19      civil 19:11 46:10 52:19     complete 16:19            continuity 26:13
   88:3,16                     81:9,10                   completely 74:13          contours 16:8,10
 cause 43:16 44:1            claim 38:18                 complex 82:22             contrary 46:1
 caveat 28:4,6               claimant 56:17,20           complied 62:19            control 52:16,22
 ceremony 31:9               claims 39:11,21 41:8        comply 61:12              controls 8:3
 certain 67:7                clarification 38:10         conceded 18:8             conversant 78:15
 certainly 17:7 19:10 24:3   clarify 2:22                conceive 74:17            convincing 50:10,21 80:4
   33:6 37:9 51:17 82:10     clarifying 60:4 70:11       concept 39:15             cooperatively 33:22
 CERTIFICATE 88:1            Clark 1:3,21 2:16 5:6,8     conceptually 74:16        copies 62:16
 certify 88:4,6                5:10,11,12,13,18 22:8     concerned 15:2 16:13      correct 27:20 37:15
 Chair 1:10 2:3,5,10,20        27:17 34:5 38:19 40:8       35:17 67:2 76:3           38:22
   4:6,12 5:2,12,15,18,20      43:3,22 44:13 46:10,13    concerning 63:14          correspond 54:7
   6:3,22 9:2,10,15 10:9       49:6 51:19 62:7 66:5      concerns 81:20            cost 49:22
   10:10 11:15 12:1 13:8       75:3 76:4,6,9,19 77:2     conclusion 73:22          counsel 1:13,15,20 4:14


202-347-3700                              Ace-Federal Reporters, Inc.                           866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 28 of 36
                                           In Re: Jeffrey B. Clark
                                               October 6, 2022
                                                                                                    Page 91

   4:17 13:13 15:7 20:17      21:11,18 27:7,18 28:4,9   describes 46:17              DNo 1:3,4
   21:6 28:3 29:12 33:14      28:19 29:10,13 30:8       describing 20:8              doable 58:16
   35:15 37:20 53:21          32:11 57:9 86:8           designate 56:15 57:5         docs 78:7
   62:17 71:9 74:7 76:20    DC 63:8                     designated 57:17,21          documents 29:21 33:3
   76:22 77:9 79:13 80:2    deadline 29:13 32:17          58:11                        67:6 76:2,5,10,14
   88:7,10                    33:13,14 57:17            designating 58:9             doing 7:20 13:16 15:8
 Counsel's 46:15 80:6       dealing 59:6 69:13 84:8     designation 58:2 59:20         29:8 51:10,17,21 82:21
 counter 53:17 58:6         December 30:5,12 32:12      desperately 25:9               85:21
 counter-expert 56:15         40:13 54:5,12,13,18       Destro 1:19 5:9,9            DOJ 62:18,22 63:7,20
   57:6                       57:12,15,17,20 58:9       details 14:20 20:6 34:2        64:8,22 68:3 69:10,19
 counts 38:11                 59:21                     determination 58:5 80:2      DOJ's 63:14
 couple 44:12 45:1 66:1     decide 7:13,19 11:15          80:4,13 82:3               don't-- 66:14
 course 6:22 12:9 33:12       42:15 75:9                determine 3:1,4              Donoghue 16:22
   42:14 52:18 79:12        decided 6:21 7:7 8:6 9:20   determining 80:10            doubt 34:7
 court 2:13,18 4:3,5,11       55:11                     develop 42:5                 draft 18:4
   7:3,14 8:4,5,17,19,21    deciding 7:8 10:15 36:13    differences 52:19            drafting 40:10
   8:22 9:3 10:20,21,22       40:20                     different 15:18 42:2         draw 40:20 50:2
   11:7 42:17 56:4 60:15    decision 8:4 14:12 29:14      64:11 72:2                 drawn 49:13
   61:13,20 67:11 75:17       35:20,21 55:14 56:4       differently 46:22 71:1       duck 82:13
   83:17 86:2 88:1,3          84:21                     difficult 4:20,21 74:16      due 54:18
 court's 76:8               decision-maker 42:12          82:21                      dumb 49:15 68:12
 courtesy 37:19 48:3        decisions 7:2 8:4 9:2       difficulty 16:7 23:20
 courts 8:20                  37:20                       58:18                                   E
 covered 73:20              declaring 28:9,19           directed 4:9                 E 2:1,1
 COVID-19 3:7               deem 57:6                   direction 19:1               earlier 59:17,19 63:12
 create 23:9                deemed 43:13                directly 86:4                  76:13,21
 criminal 52:3 72:9         defense 32:19 51:15         disagree 75:6                early 37:21
 crisp 22:5                   66:22 71:18               Discipliinary 71:9           easier 28:17 81:14 85:22
 critical 33:17             defenses 44:15              disciplinary 1:4,13,15 3:7   Edwards 61:6
 criticized 14:6            deferral 10:16 12:5,6,18      3:11 4:17 14:7 19:20       effect 7:5 51:22
 criticizing 37:12            12:19 13:1 14:1             20:17 39:17 46:15          effective 22:5
 cross 18:19 58:17          deferring 13:5,9 14:15        79:13 80:2,6               effectively 83:3
 cross-examination 15:17    definition 7:21             disciplines 80:7             effects 53:12
   15:19 16:13 20:19        delay 13:21 67:17 73:2      discovery 16:20 19:12        effort 3:15
 crossed 40:8 41:19           75:1 78:1                   31:12 59:16 62:7 67:2,3    efforts 22:8 25:5
 curious 33:18              deliberative 44:16 48:7,9     70:13 71:3,5,11,17,18      either 6:14 25:2 38:14
 current 69:19                65:14                       71:21 72:17 74:18,22         41:3 55:12
 cut 21:13 66:9             delivery 47:2               discuss 6:16 21:3 51:7       election 12:13 18:22 40:1
                            demand 63:4                   78:3,15 80:1,16 82:18        41:17 63:15 65:22
             D              demonstrate 71:16,22          83:14                        76:17
 D 2:1 38:20                denied 12:19                discussed 6:8                elements 60:13
 D.C 8:4 10:20,22 11:7      deny 14:18                  discussing 6:9,11 10:15      email 56:2 86:14
   42:17 46:14,15 61:5,12   Department 18:6,15            38:14,14,15                embarrassingly 68:11
   61:20 75:14,15,16          43:22 45:21,22 49:9,14    discussion 48:13             embraced 65:22
 damages 81:12                62:13 69:20 73:4          dishonesty 38:15 40:17       emphasize 50:20
 date 24:19 30:18 57:3,12   Department's 13:18          dislike 53:5                 employed 88:7,10
   74:19                    depending 16:9 30:17        dismiss 8:16 17:19 18:8      employee 45:20 64:2
 dates 3:2 13:12,13 15:7    depends 36:21 72:6 86:11      19:3 39:4                    88:10
   22:18,20 23:6 25:3         86:12                     dispute 34:7 67:20           employees 69:10,19
   27:16 28:7 34:18 41:5    depose 72:15                disputed 34:3,4              enforceable 11:6
   57:7                     deposition 12:8,15 68:14    disputes 33:20 60:5          enforcement 18:16 46:7
 day 8:20 21:15 23:11,12    depositions 13:3 17:5,8     distinction 45:15              63:14 64:13 65:14,20
   23:16 27:11 28:5 30:5      19:12 24:20 63:13         distinguishing 18:14         engage 49:9
   32:3 33:7 58:21 77:11      70:14,18                  District 2:17,18 28:16       ensure 3:8
   86:12                    describe 40:17 78:9           43:11 46:18                entire 25:7
 days 15:14 16:3,11 19:8    described 6:19              divided 26:17                entirely 84:17


202-347-3700                             Ace-Federal Reporters, Inc.                              866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 29 of 36
                                             In Re: Jeffrey B. Clark
                                                 October 6, 2022
                                                                                                      Page 92

 enumerate 54:20               60:16 61:13                files 67:4,6                   24:10,13 26:11 27:22
 environment 7:16 72:8       experts 56:10,11 57:16       filing 7:5 13:17 14:22         28:2 30:14 32:14 34:8
 equities 65:11,12             62:6                          79:2 84:1                   36:22 37:2,6,10,15 38:4
 Esquire 1:9,12,14,17,18     explain 55:9 81:2            filings 15:2 22:11             38:22 41:4 43:1,9 48:5
   1:19,21                   explained 12:17              final 12:12 82:3 84:14         49:2 51:8,11 52:10
 essentially 7:9 76:13       explore 26:20                finalized 68:10                55:18,19,22 56:20 57:2
 establish 65:17             express 47:14                financially 88:11              57:8,9,13,19 58:1,13,22
 ethics 56:3,7               expression 39:8              find 22:1 36:4 72:13           59:2,17 60:2,15,20 61:3
 evaluate 48:19              expressly 7:17               finding 80:17                  61:22 62:2,11,15 63:2
 evaluating 65:18            extensive 37:7               fine 6:6 28:2,6 30:14 32:9     66:3 67:12 68:18,20,21
 eve 59:7                    extent 11:3 33:17 36:14         38:7 41:1,3 44:10,11        69:13 70:10 74:3,15
 event 33:6                    37:12 49:11 64:15             57:16 60:2 61:14 69:14      75:12 76:3,7 77:7,20
 events 16:2 39:4              84:15                      fingertips 41:6                81:22 84:21 85:1,8,9,17
 everybody 2:12 14:7         extraordinary 44:3           finish 26:6                    86:19
   19:13 20:21 53:19                                      finished 12:7                Fox's 9:7 26:9 46:14 59:8
   79:20                                  F               first 5:2 6:14,14,21 7:7       67:4
 everyone's 74:21            face 73:3 85:5,5                8:6 11:1 15:10 20:18      frame 44:9
 evidence 3:3 14:16 16:7     fact 14:15 31:11 34:6           33:19 37:3 38:9 43:14     framing 18:1
   16:10 19:4 24:20 36:7     fact-finding 43:20              45:11 62:9 64:12 67:2     frankly 24:14 32:21 37:2
   39:13,22 40:11,12         factor 15:19 82:8,16            68:6 69:5,17 73:1 77:7      49:4 50:2
   48:19 50:11,21 60:8       facts 34:8 47:19 50:22       fit 25:22 43:7               fraud 39:22 40:13 76:16
   65:11 76:15 80:4,5,9,20      78:16                     five 21:17                   fraught 72:8
   82:6                      factual 39:21 49:17          five-day 20:16               frequently 26:17
 evidentiary 51:21           fair 8:1,10 23:3 48:16       flag 31:20 33:5 65:9         front 58:7 69:1 83:22
 ex-DOJ 64:2                    74:13                     flagging 42:6                full 12:8,14 64:3
 exact 16:8,9                fairness 74:5                flattering 5:15              function 43:20
 exactly 12:10 16:7,20       faith 21:7                   flip 48:5                    further 66:5 85:9 88:6,9
   18:11 19:3,4,14 32:18     faithfully 4:7               flow 4:19
   34:19 37:6 45:9 47:4      fall 6:1 39:12               fly 54:1                                 G
   72:5                      false 18:21                  focus 21:21 25:12 35:7       G 2:1
 example 9:17 34:6,7,14      falsity 18:2                    40:4,4 66:14              game 48:16
 exception 8:1               families 23:10               focusing 20:11,12            gamut 65:12
 exchange 3:3 39:2           far 15:2 16:13 36:12         folks 22:18 53:14 75:20      gather 69:6
 exclamation 87:1               53:13 64:16 67:1 68:2,3   follow 11:11 13:18 31:12     GAYNELL 88:3,16
 excluded 63:11                 71:11,12,20 76:2 85:5        36:9 46:19 78:8           general 21:1 36:18 40:11
 excuse 17:14 75:1              85:18                     followed 44:2                  45:5,6,8,12 49:7
 executive 65:10,12,13       fast 14:3,3 67:16 86:7,12    following 20:10 24:6         generally 15:15 39:17
   79:22 86:21               favorable 31:3                  26:14 32:17               gentlemen 15:21
 exemption 47:3              fear 73:5                    follows 75:17                Georgia 39:15 40:2 76:17
 exercise 3:19               features 18:14               foot 59:10                   getting 51:6 58:14,19
 exhibit 29:20 30:6,10       February 24:13,14            forbids 7:17                   69:16 71:2,10
 exhibits 27:19 32:3 78:8    federal 8:20,21,22 60:8      foreign 68:14,15             give 2:5,11 20:13 21:1
   78:9                         61:18                     forget 76:15                   35:8,19 55:13 56:13
 existence 85:3              feedback 3:22                format 78:7                    58:3,16 63:7 74:3 75:3
 existing 44:20              feel 51:10                   formatted 78:9                 78:6 79:3,15,15 81:18
 expect 21:6,11,12 25:21     fence 84:16                  former 69:9,19                 86:4
   33:13 64:16,17 72:10      fight 77:6,12,12,18          formulating 42:20            given 9:16 17:6 20:3
   78:7                      figure 65:6 66:18 70:18      forth 65:11                    24:19 63:9 79:14 88:5
 expected 20:18                 73:11 77:17 82:22         forward 3:9 51:15            gives 54:22 59:22 60:1
 expecting 64:8 78:14        figures 20:21                foster 78:1                    69:20 79:12
 expedited 83:16 85:21       file 9:18 32:3 33:16 35:4    four 16:12 61:7 69:3         giving 34:13 55:7 72:20
 expeditiously 67:15            53:20 54:5,12 65:8        four-day 78:19                 79:8
   72:13                        67:10,21 71:22 72:16      Fox 1:12 4:16,16 10:3        glitches 3:17
 expert 55:16 56:3,7,12      filed 6:18 7:16,17 20:6         13:4 15:13 16:8,16,18     go 4:22 18:18 19:4 21:4
   57:4 58:2,9,10,11,15         36:1 37:22 47:6 56:12        17:19 18:7,20 21:10         22:14 25:18 28:15 52:7
   59:6,15,20 60:7,10,11        60:6 74:12                   22:21 23:4,13,19 24:3       52:10 54:21 60:12 62:6


202-347-3700                              Ace-Federal Reporters, Inc.                               866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 30 of 36
                                            In Re: Jeffrey B. Clark
                                                October 6, 2022
                                                                                                    Page 93

   63:1                      heads-up 55:4                 82:18 83:18 84:5,11,20    informed 39:20
 goes 40:3 50:12 86:3        health 84:18                  85:7,10,18 86:16,20       initial 47:5 79:9
 going 6:8,9,11,12 10:12     hear 4:1 21:19 35:15          87:5                      initially 41:7 83:20
   12:10,12,16 13:11,15        36:11 37:2 64:16,17       hit 47:11                   inquire 76:18 77:8
   14:18 15:11 16:9,11,21      75:7 79:19                hitting 15:16               inquired 24:14
   17:12,14,15 18:11,18      heard 9:6,14 10:6 51:8      holiday 23:17 24:2          inquiry 18:16
   19:2,15 21:4,5,13,16        85:20                     holidays 28:5,6 54:15       insight 41:22 55:8
   22:4 23:14 24:15 25:8     hearing 1:8 2:16,21 3:5,5     58:19                     insists 69:16
   25:20 28:10 31:2,3          3:16 6:11 8:17 9:12,21    home 75:22                  instance 9:15 11:2
   32:18,20 33:1,6,14 35:3     11:11 13:15 14:17         honest 39:8                 instances 38:19
   35:4,8,19 42:3,10,11        15:11 19:21 20:1,12,16    Honor 5:14,16 6:1,5,18      instructed 74:14
   47:17,22 48:20 49:2,3       22:2,5 25:7,14 27:18        11:18 12:4 14:19 17:17    intelligence 85:1
   49:22 51:8,12 52:1,8        28:10 29:6 32:11,16         24:16 25:15 29:18 52:5    intelligent 66:15
   53:7,16,22 54:2,2,3,20      33:8 36:4,7 42:12 58:21     55:21 59:5 60:3 61:21     intelligently 80:17
   55:2,16 56:10 58:3          59:7,15,18 60:1 61:2        70:8 83:15 85:13,15,17    intended 65:17
   59:10 63:19 64:2,6,6,22     64:17 65:1 70:13,19,20    hope 24:22 31:8 68:9        intending 29:11
   66:12,16 70:5,16 72:10      71:2 72:3 78:4,5,11,17    hoped 47:9                  intends 13:4 16:8 17:21
   73:15,16 74:9 75:21         78:21 79:11 80:15 81:6    hoping 26:21,22 27:2        interchanges 83:10
   76:8,18 77:5 78:5,18        81:17 82:4,7,9 84:15        78:14                     interest 14:11 21:9 45:13
   79:2 81:11 82:8 84:1,7      87:8                      Horrell 1:14 4:17           interested 35:17 53:4
   84:21                     hearings 3:12 35:11         huddle 47:11                   88:11
 gonna 33:13                 help 3:22 36:7 42:20 45:2   humble 20:5                 interesting 78:22
 good 2:3,4,5 5:4,8,10,12      53:19,20 55:5,9 75:20     hypothetically 7:12,18      interfere 43:4
   5:13,18 15:16 18:12       helpful 50:18 51:4 52:11                                interfered 43:6,7
   21:6 31:10 34:22 68:1,8     64:9 83:2                              I              interference 38:16 43:2
   70:21,22                  helping 27:13               idea 14:2 18:12 21:16          43:13
 gotten 67:3,20 76:3         helps 20:12 75:19             27:12 29:18               interject 30:16 70:10
 governing 2:18              hereto 88:11                ideal 80:19                 interpretation 7:9 8:3
 government 23:18            Heretofore 76:22            ideas 49:15                 intimated 52:10
 governmental 46:8           hesitation 82:15            identified 24:17 25:2       introduce 2:14
 grateful 51:3               higher 7:4                    54:21 68:7 74:20          investigation 18:22 65:22
 great 19:17 72:19 86:15     hiring 76:5                 identify 29:9 68:9 72:13       66:5
 ground 17:21                Hirsh 1:9 2:3,5,10,20 4:6   III 1:12                    investigations 12:21
 grounds 14:1,17               4:12 5:2,12,15,19,20      imagine 68:19                  41:16 63:15 72:10
 guess 48:21 86:6              6:3,6 10:10 11:15 12:1    immediately 23:8 80:14      involve 12:14
 guidance 61:14                13:8 14:21 15:13 16:5     impact 83:21                involved 82:9
 guideline 21:2                16:16,17 19:9 21:20,22    implicate 39:9              irregularities 41:17
 gut-wrenching 29:14           22:13,17 23:1,5,17,20     important 20:1,2 42:13         76:17
                               25:4,18 26:8,15 27:2,5      42:14 47:13 55:12         issue 6:20 8:10 9:16
             H                 27:9,15,22 28:22 29:4     in-person 3:9 84:17,18         36:21 39:6,9 40:22
 habit 6:3,4                   29:17 30:3,13,15 31:5,8   inasmuch 66:3                  51:18 63:16 64:16
 Hamilton 1:12 4:16            31:17 32:2,10 33:10       inclined 20:20                 66:17,17,18 69:18 81:2
 hand 18:4                     34:12 35:1 36:22 37:4,9   include 13:3 33:11 52:12       82:11,13 83:12
 handle 26:9 31:17 64:20       37:11,16 39:1 41:21       includes 75:14              issued 22:19 75:14,21
   67:13                       44:6 47:16,22 50:8,18     incorrect 52:14             issues 2:22 11:1 37:10
 handled 78:6                  51:5 52:15 54:10,17       indicate 29:10                 38:1 42:18 54:1 62:8
 happen 12:10 19:15,16         55:2,22 56:18 57:1,2,7    indicated 66:3                 78:21 79:6,10
   21:22                       57:11,14,21 58:8,18       indication 56:1
 happened 33:19                59:1,3,12,19 60:9,18,22   inevitable 3:17                          J
 happens 13:22 27:13           61:4,11,19 62:1,3,5       inevitably 51:12            January 12:7,22 13:6,12
   73:7 78:20 80:14,19         63:5,17 64:10,15 65:4     infer 35:22                   13:14 14:17 15:6 17:3
 happy 41:4 50:6 52:10         66:8,13 67:1,14,19 68:2   infinite 20:13                22:20 23:11 24:15 25:6
 hard 14:8 30:18 61:19         68:18 69:2,12,15 70:9     inflexibly 7:22               25:8 30:17
 hardships 23:9                70:10,15,21 71:5,15       information 19:13,18        Jason 1:14 4:16
 Harry 1:18 5:5                72:22 75:2 76:1 77:4,14     20:4 41:11 63:8 66:15     Jeffrey 1:3,21 2:16 5:6
 head 38:8                     77:16,20,21 81:22           67:8 71:8,10 81:14 86:4   job 49:22


202-347-3700                              Ace-Federal Reporters, Inc.                             866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 31 of 36
                                             In Re: Jeffrey B. Clark
                                                 October 6, 2022
                                                                                                     Page 94

 joint 81:2                  knows 16:20                    32:20 49:13 52:22        men 34:21
 Jones 58:3                  kumbaya 33:10                  60:12 61:12,20           mentioned 63:11 64:12
 judge 5:16 61:5                                          looking 23:5 64:7           84:1
 judges 35:12,13                           L              lot 13:9 22:7 33:15 79:6   merely 39:14
 judgmental 83:7             late 31:14                   lots 26:2 87:1             merit 53:5,7,8
 judicial 9:4,11,16 10:11    Laughing 5:3                                            meritorious 53:10
   10:13 11:16 83:21         Laughter 27:4 61:10 62:4                M               merits 7:8,13,19 8:11,16
 Judiciary 17:1,10 18:13        86:1 87:4                 MacDougald 1:18 2:4,8       9:7,13,13,22 53:4 55:11
   63:12 65:19               law 7:4 18:16 44:17 46:1      5:5,5,21 6:17 11:14,17    Merril 1:9 2:20
 jurisdiction 6:20 7:6,12       46:17 63:14 64:12          12:3 14:19 16:5,6 17:17   methods 41:9
   7:18,21 8:6 9:5,12           65:13,20 78:16             20:8 21:19 22:3,14 23:3   miles 75:14
   10:11 11:6 68:21,22       lawsuit 46:8                  23:7,15 24:10,16 25:13    mind 40:6
   75:22                     lawyer 46:18 67:16            26:5,12,22 27:20,21       minimize 3:22
 jurisdictional 10:17 11:5   lawyers 6:4 34:20 72:7        29:2,15,18 30:12,16       minute 20:21
 jurisdictions 8:13 68:15    lay 48:15                     31:7,16,18 32:6 34:10     minutes 4:18 5:1 59:11
 jury 52:4                   leads 81:1                    34:17 36:19 44:6 47:8     misheard 54:9
 justice 13:18 18:6,15       learn 6:4 12:16               47:21 50:5,9,19 51:2      misstate 48:15
   38:17 43:2,5,5,22 45:21   leave 21:13 55:3              52:7 54:8,16,19 55:18     mitigating 80:8
   45:22 49:9,14 62:13       legal 39:9 42:18 56:3,7       55:20 56:16,19 59:4,5     MLK 23:11,12,16
   69:20 73:4                   78:19                      59:14 62:10,14,18 63:6    modify 3:12
                             legislative 43:13,17,18,19    63:18 64:14 65:3,7        moment 25:15 28:13
             K               length 3:4                    66:11,20 67:5,18 68:1,8    33:11 72:21
 kind 6:9 20:20,22 38:9      let's 14:20 21:17 22:17       69:9,14 70:7,17 71:4,14   Monday 6:19 7:5,17
   45:4 48:5,12 71:6 73:5       25:18 26:20 32:2 51:6      72:5 74:13 75:19 77:13     13:17 15:1 23:11 30:10
   79:9                         58:22 62:6                 77:15 83:15,19 84:10       65:8 84:1
 kinds 11:1 43:16 55:8       letter 18:4 39:15,20          84:12 85:10,14 86:5,9     month 14:15
   56:9                         41:10,19 49:21 62:20       86:14,18 87:3             months 13:14
 know 3:16 9:3,8 11:8,21        62:21 63:6 64:1           mad 34:21                  morning 2:3,4,5 4:19 5:4
   12:9,20 14:6 15:1,17,18   letters 62:17                maintain 43:3               5:8,10,12,13,18
   16:1,7,14 17:11,13,15     liability 81:11              making 10:16 31:22         motion 10:15,19 13:1
   18:11,18 19:3 20:4,6,22   license 46:17                mandamus 9:17               17:19 18:7 19:2 36:15
   21:12 24:18,19 25:1,4     life 48:2                    marching 11:9               39:4 54:14,18 67:11,12
   30:2,20 31:1,1,2,11,14    light 9:22 13:1 14:22        mark 15:16 47:11            67:21 71:22 72:16 74:2
   32:17,22 33:16,19 34:1       28:13 76:20 82:6          massive 19:12              motions 8:16 34:16 36:15
   34:2,3,7,13,19 35:9,10    limine 34:16 36:15,16        material 12:16 13:15        54:6,13
   35:16 36:17 41:2 42:7        54:6,13,14,18              65:8                      move 3:9 14:3,20 31:19
   43:15 44:7,19 45:2,19     limitations 74:7             materials 13:3,7            53:3 54:11
   46:2,9,11,22 47:2 48:12   limited 14:2 18:15 20:3      math 30:4                  moved 12:18 59:12
   49:11,15,16,20 50:1,9        75:15                     matter 2:16 6:20 7:6,12    musings 51:9
   51:2,11 52:18,22 53:2,9   limiting 45:20 46:3           7:18,21 8:5,13 9:5,12     mute 3:21
   55:4,8,12 56:9 58:2,14    line 40:8,19,20 41:20         10:20 43:13 46:1 48:21
   59:7,9 61:7,11 62:9          49:12 50:1,13,14           48:22 53:9                           N
   63:18,20,22 64:4,6,7,18   list 27:19 29:19,20 30:22    matters 6:15 12:2          N 2:1
   65:3,5,7,19 66:7,17          52:12 57:10 76:7          mean 19:6 33:16 34:3       narrow 66:2
   67:17 68:16,19 69:22      listening 35:14               35:10 37:3 41:4 45:19     naturally 81:10
   70:8 71:8 72:7,12,16,19   lists 3:3 30:6,11             46:3 47:17 48:20 49:2,5   nature 51:13
   73:3,10,14 74:1,3,6,8     litigation 44:1,2             54:22 75:2 78:18          necessarily 18:21 35:8
   75:4,15 78:1,7,11,13,16   little 4:20,21 14:4 35:6,7   means 41:9 45:9              40:5
   79:4,7,9 80:12,13 81:3       37:17 43:9 59:15 86:10    meat 58:6                  necessary 57:6 76:19
   81:6,16 82:9 83:2,8       live 3:13 25:10 28:15        meet 54:3,11 71:22 74:2    necessity 28:19
   84:6,21,22 85:19,20          78:12                     meet-and-confer 67:11      need 3:4,18 6:4 13:18
   86:13                     long 6:12 12:20 14:6          67:14                       15:12 16:10,12 21:4,14
 knowing 75:9,9                 15:10,17 16:14 17:15      Meghan 86:3                  22:1,3 26:1,14,16,21
 knowingly 18:21                20:8,19 64:6 73:3 82:21   member 46:13,16              27:1,3,9,10 30:21 47:16
 knowledgeable 58:5          longer 14:9 19:6             memo 40:10,14                51:7 57:4 58:5,11 60:12
 known 19:14                 look 2:7 25:5 28:4 31:5      memos 49:15                  61:1 64:20 66:18 71:16


202-347-3700                              Ace-Federal Reporters, Inc.                               866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 32 of 36
                                            In Re: Jeffrey B. Clark
                                                October 6, 2022
                                                                                                    Page 95

   71:22 73:2,8,18,21          36:2,4 37:20 38:3,6       panoply 64:3 65:16            50:19,20 52:11 56:20
   74:18 79:3 81:4,17 86:9     39:1 40:8,19,20 41:21     pantheon 19:18                65:9 75:3 78:5,22 79:3
 needed 31:1 56:14,14          45:18 46:11 47:7,21       paper 2:6                     81:7 83:20
   75:7 86:22                  48:6,10,17 50:8,15,16     papers 6:18 7:17 44:13      points 44:8,22 62:7 87:1
 needing 25:21                 50:18 51:9 52:17 53:18      56:1                      poke 37:5
 needs 51:18 73:18             54:16 55:3,11,12,16       part 10:18,21,21 16:6       politely 35:14
 negative 73:6                 57:1,7,11,21 62:5,8         29:5 37:13 39:7 42:19     pop 35:8 38:5 42:1 61:8
 neither 88:6                  63:5,17 64:15 65:4 66:8     45:11 48:6,16 77:17         64:19
 never 2:8 15:20 19:10         67:18 68:1,2,18 69:14       79:8                      portion 65:1
   35:16                       70:9 71:3,6,8 72:22       PARTICIPANTS 1:7            portions 17:6
 nevertheless 18:10 49:18      73:2,17 76:1 77:4,16      participation 72:3          posed 50:13 51:4
 New 23:9 34:22 58:21          78:2 80:20 82:18 83:1     particular 44:8 75:6        position 9:7,10,19 10:3,3
 non-Touhy 64:1                83:11,18 84:5,20 85:7     particularly 28:13 34:1       10:7,9,12 18:9,20 27:22
 nonbinding 80:2               85:10 86:15 87:5            42:18 49:20 79:5 83:6       29:22 41:7 50:6 52:2,9
 normal 11:12 28:9 48:12     omnibus 39:4                parties 3:1,20 36:12 71:7     52:13 63:10,20 76:14
   61:12 79:11,17            once 61:4 79:20               80:5 81:2 88:8,11         positions 18:3,5 37:3
 normally 81:22              open 21:14 33:7 36:10       parties' 81:4,7             possibilities 26:3
 not-- 31:15                 opening 79:12,16            passed 62:3                 possible 67:16,16 73:9,21
 note 3:6 10:14              operate 11:20 70:3 71:1     patience 3:19                 73:22 85:5
 notes 54:22 57:16             82:19                     people 4:1 14:9 15:4,10     post-hearing 36:6 79:1,2
 notice 60:7,10 69:21        operating 9:2 85:2            15:18 20:13 23:10           81:15,17
 novel 22:7                  opinion 39:8 56:17,20         25:22 27:11 29:9 31:10    potentially 13:20 36:14
 November 17:7                 58:3,6 82:21                35:3,13 36:3 37:22 38:1     42:16 43:6 63:10
 number 1:8 2:15 37:10       opportunity 22:18,22          41:14,15 42:5,11,20       practical 15:3 25:11
   63:13                       55:13 56:13 74:3 75:4       44:9 55:7,9,13 68:9       Practice 44:17
                               79:14 83:3                  69:7,18 70:4 71:2 72:7    pre-decision 49:11
              O              oppose 51:17                  72:8,10,11 75:16 78:15    pre-decisional 48:13
 O 2:1                       opposed 9:8 40:17 45:16       80:11,15,20 81:12,18      Pre-Hearing 1:2
 object 32:3 52:9              46:21 60:11 66:16           83:14 86:21               precisely 17:11 23:13
 objected 62:19              opposing 29:12 53:6,9       people's 15:5 27:13 36:10   predecisional 39:6
 objections 18:17 32:3         58:11                       53:18                     predicament 59:8
   63:13                     opposition 52:1             percent 19:18               prefer 59:19
 obliged 45:22               options 9:4 84:3,6          perfectly 38:7              preference 36:19 84:18
 observation 32:16           order 6:10 7:19 11:9        period 16:1                   85:4
 observations 74:15            22:19 29:5 33:11 54:20    permit 65:10 84:19          prehearing 2:22 35:4
 observed 17:18                63:4 83:13,16 85:2,6      permitted 66:1 69:10          36:9 47:18 49:3 51:10
 obvious 46:1 47:6             86:4                      persist 50:16 51:21           51:13,19 54:12
 obviously 25:8 34:3         ordered 85:20               persisted 18:10             preliminary 6:15 12:2
   36:21 49:3 52:9 83:12     ordinarily 48:8,13          person 45:15,21 70:1          80:1
 occur 59:16                 originally 12:5,18            82:14                     premise 22:11 66:4
 occurred 16:2               ought 9:14,20,21 10:6,7     personal 45:13              preparation 71:17
 October 1:6 42:4 87:8         10:13 11:1 28:14 34:17    perspective 46:14,15        prepare 58:17 81:19
 ODC 10:3 79:12                34:19 80:22               petition 9:17               prepared 36:3 79:5 80:12
 ODC's 52:13                 oughtn't 81:1               phrase 76:4                   81:13
 off-hand 61:16              outside 28:16               phrased 76:16               present 4:8 11:4 21:10
 office 4:17 45:12,16        over-simplifying 40:12      piece 2:6                     22:6 24:21 48:20
   82:14                     overall 41:15               pig 37:4                    presentation 22:15
 Officer 4:9                 overly 31:9                 pin 35:5                    presented 26:10
 officials 39:16             overstate 48:14             place 47:1 48:9 65:1        presenting 40:5
 Oh 57:14 62:15              owe 22:8                    planning 11:12 84:11        presents 22:7
 okay 4:6,14 5:2 12:1                                    plans 25:6                  preserve 24:20
   14:21 16:5 19:16 20:1,9               P               play 5:16 46:20 48:18       President 39:8 45:5,8,13
   20:12 22:17 23:1,5        P 1:12 2:1                  please 4:14 51:9              45:13,16,19 46:2,11
   24:10 27:2,5,11,13 29:4   page 27:3                   point 10:17 12:6 17:15        49:6
   29:12,17 30:3,15 31:7,9   pandemic 3:7                  20:4,7 21:8 30:1 38:6,9   Presidential 40:1 50:4
   31:13 32:2,10 34:15       panel 23:15 55:7 64:17        40:14,16 42:2,6,13 45:5     65:15


202-347-3700                              Ace-Federal Reporters, Inc.                             866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 33 of 36
                                              In Re: Jeffrey B. Clark
                                                  October 6, 2022
                                                                                                     Page 96

 Presiding 4:9               proven 80:3                  reaction 19:9 20:3 73:5,6   renew 13:1
 press 12:11                 provide 86:2                 read 20:5 27:19 37:21       replies 53:17,18
 presumably 63:20            provided 67:5                  53:12 57:15               report 4:8 10:18 11:11
 presume 32:18               providing 39:7 41:22         reading 47:5                  12:8,12 56:12 57:21
 presumption 21:5              79:20                      ready 78:15                   58:9,12,15 60:5,11,13
 pretrial 53:17,20 60:10     provision 60:7               real 19:21 52:9 58:4          61:12,14
   60:11 61:1,2 64:18        provisions 44:15,20          realizes 14:8               Reporter 2:13 4:3,5,11
   78:13                     public 3:13 14:10 84:18      really 6:14 15:5,19 21:4      83:17 86:2 88:1,3
 pretty 14:14 15:15 76:10    publicly 31:4 63:9             22:1 23:21 34:3 37:19     reporting 45:12
   76:12                     pull 15:8                      45:1 53:3 55:14 78:22     reports 12:11 57:4,18,19
 pricing 86:11               pure 38:20                   reason 13:9,16,21 67:17       60:16
 primary 15:22               purpose 2:21                   70:22 79:8 82:15 83:1     represent 22:9
 principle 45:20 46:3        purposes 10:15               reasonably 52:19            representation 17:13
 principles 46:6,21 47:7     pursuant 2:17                reasons 12:17,19 13:10      request 14:18 56:11 57:2
 prior 12:13 69:21 80:7      pursue 18:19 30:2 40:14        31:10 82:1,2                63:2,3 73:3,4,8,19
 privilege 18:17 46:18       push 58:15 59:15,18          rebut 19:4 22:15            requested 12:5
   47:2 63:14 64:13,21       put 3:20 9:9 15:14 16:4,8    rebuttal 59:6               requesting 71:2
   65:13,14,15,15,20           16:10 17:16 19:4 35:5      recesses 79:22              requests 62:12 75:1
 privileges 65:13 67:7         51:15 64:20 65:8,10        recognize 74:6              require 19:22
 probably 4:21 19:17,19        66:21 69:21 74:8 78:16     recognizing 9:1             required 3:7 7:11 22:15
   22:21 32:7 41:5 53:14       80:5                       recollection 61:16            55:6 63:1 79:15
   53:20                     puts 58:20                   recommendation 9:13,14      requirement 56:12
 problem 2:9,11 18:9 26:9    putting 45:6 59:6 74:7         10:5,19 11:11 39:7        requirements 72:1
   28:20 32:15 58:20                                        42:13,15 82:4             requiring 53:15 77:1
   66:13 70:1 73:11,16,17                Q                recommending 9:16           reserve 63:8
   77:17                     quasi-judicial 43:20         record 4:15 88:5            resolved 72:20 77:22
 problematic 49:19,20        question 6:19 7:3,8 8:2      refer 56:4                  respect 8:7 11:20 44:4
 problems 25:1                 9:5,12 16:2 19:21 35:3     reference 12:6                65:11,21 67:7 71:1
 procedure 14:2,4 65:18        35:6 36:8,21 38:21 40:6    referring 61:17             respectfully 10:8
   79:11,17                    48:21 49:5 50:12 60:4      refine 50:6 51:16           respond 16:16 74:3 75:8
 proceeding 2:14 4:8           64:22 68:12,17 69:17       refining 42:1               respondent 1:22 5:6,13
   11:10 12:17 19:20           70:11,15,22,22 72:19       reflect 62:21                 5:18 16:19 17:2 39:14
   42:16 45:1 47:5 71:6,21     86:6                       regardless 19:20 29:7         56:2 71:9,10 74:17 80:8
   81:10                     questioning 83:5             regulation 63:1             respondent's 1:20 32:19
 proceedings 51:22 56:8      questions 22:8 47:9,13       regulations 13:19 62:20       39:5,19
   71:7 75:1                   51:3 64:5 65:18              63:3,21 65:10 69:13       respondents 14:11 56:4
 process 11:12 14:7 42:19    queue 27:16                    70:3 73:20                  58:16
   44:16 47:2 48:8,10 63:1   quicker 86:10                regulatory 69:20            responding 39:3 58:10
   64:9 65:14,17 73:9        quickly 30:5 73:20,21        reining 38:11                 66:10
   75:17                       74:6,10 77:21              relate 36:16 47:4           response 10:9,10 17:18
 product 67:7                quite 44:20 52:13 63:13      related 12:20 19:14 35:2      18:7 19:2 37:13 39:5
 production 77:18            quiz 35:8 38:5 42:1 62:3       88:7                        44:4 54:14,17
 professional 1:1 52:18        64:19                      relative 88:9               responsibility 1:1 41:15
 professionally 33:22        quizzes 61:9                 relatively 14:2 68:10         41:16
 prohibited 52:3             quote 18:10 60:5             release 12:8,12,14 13:2,6   responsible 42:17
 promise 74:8                                               31:2                      rest 13:22
 promptly 77:10                         R                 released 31:4               rests 79:20
 proof 39:15 50:10,21        R 1:14 2:1                   releases 30:18              result 33:1 51:13
   79:13                     raise 42:22 65:9 76:8        relevant 12:16 34:6 60:17   results 40:2
 properly 81:2                 77:21 78:21 83:11            66:6                      resume 26:6
 propose 32:11 57:8          raised 34:16 36:1 56:20      reluctant 72:11             returning 83:19
 proposed 18:3 27:17 28:3      62:7 83:20                 remaining 68:3              reverse 6:10
   39:19                     raises 44:14                 remote 25:6,8,10 28:18      review 9:5,11,16 10:11
 proposing 18:9              raising 55:3                   29:6 78:12                  10:13 11:16 63:9 64:3
 protections 48:9            reach 30:1                   remotely 26:2 28:11,17        83:21
 prove 17:22                 reached 80:13,14               29:6,8,11                 right 14:8 24:18 29:17


202-347-3700                                Ace-Federal Reporters, Inc.                            866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 34 of 36
                                             In Re: Jeffrey B. Clark
                                                 October 6, 2022
                                                                                                     Page 97

   42:7 44:8 46:3 47:15,17   Senate 17:1 18:13 63:12      sound 31:22                 styles 15:18
   50:12 51:20 57:14 59:7       65:19                     sounds 17:7 20:8 51:11      subject 6:19 7:5,12,18,20
   61:9,15 63:8 71:4,14      send 86:14                   speak 22:19                   8:5,13 9:5,12 20:18
   72:6 75:10 77:7           sending 39:14,19 41:19       speaking 3:21 51:2            56:7
 rigorous 65:18              sense 9:11 33:8 35:2         specific 79:18              subjects 70:2
 Robert 1:19 5:9                48:14,15,16 53:15         Specifically 3:11           submission 27:18 61:13
 Rosen 16:21 62:14              59:14 78:6 79:9,9         specification 38:10         submit 47:11 60:16 73:7
 rough 30:4                  sent 41:10 86:22             spending 35:18 48:2           73:8,19 74:2
 roughly 16:1                separate 35:2 60:13          spent 38:1 68:8             submitted 44:14 57:4
 rounds 53:16                   64:10                     stacked 26:16                 68:6
 rule 2:17 7:22 8:19 28:9    separated 38:12              staff 3:15                  subpoena 10:20 11:5
   29:15 39:9,11 60:8,11     separately 26:2              stand 31:9 72:14              13:20 63:4,19 64:2
   60:13,15,19,22 61:1,15    serious 38:16 43:1 49:10     standard 71:12,20             68:13,15 69:6,11,16
   61:15,22 67:3 74:22          66:20                     standpoint 11:9 14:10,11      72:3,17 75:12,13,21
   75:18 76:10 79:19 80:3    serve 46:18 76:9,19 77:5        84:7                       76:9,12,20 77:5,9,11
 ruled 7:1 8:9 10:20            77:10                     stands 9:8                  subpoenaed 70:6
 rules 7:2,10 8:2,3,15,16    served 76:12                 start 6:10,12,14 15:9       substantial 40:13
   31:12 44:17 46:16,19      service 76:21 77:1,13           20:15 25:16 26:13,15     subtlety 47:13
   50:11,17 61:13,18,20      session 80:1                    26:20 38:4 62:10 69:4    sufficiency 62:19
   71:1 78:8,8 79:18         set 3:2 25:7 27:17 29:8         73:9                     sufficient 57:5 60:6,6
 ruling 35:20 48:1              31:19 81:16               started 18:1                sufficiently 47:10
 run 3:16 65:12              setting 19:11                starting 23:22 24:11        suggest 15:7 18:21 23:14
                             seven 16:13                  statement 23:3 69:6           28:7,21 61:3
             S               sharper 21:21                   79:12,15,16              suggested 34:18 39:14
 S 2:1                       shifted 17:21                statements 12:13              56:21
 safe 16:3                   shoe 59:10                   states 7:14 15:2            suggestion 29:3 39:18
 sake 26:12                  shot 49:16                   statment 88:8                 40:18 41:12 50:15,16
 sanction 80:16 81:8 82:4    show 39:13                   statutes 61:7                 58:13 76:9
 sanctions 80:10,22 82:11    side 20:8 33:18 48:5,6       Steel 7:15                  suggests 13:17
   83:6,7                       51:3 55:12 80:6,8 84:17   step 11:9                   suit 46:10
 Saturday 59:1               sides 21:6 75:7              steps 69:3,4                sun 5:2
 saves 29:13                 sign 49:21                   sticks 51:14                sunlight 4:19
 saying 13:14 27:10 40:10    significance 48:19           stipulate 29:21,22 33:8,8   Superior 60:15 61:13
   46:10 65:4 76:11          significant 14:14            stipulation 33:4              75:17
 says 7:20,22 46:2 61:6      significantly 39:22          stipulations 3:2 29:19      superiors 18:5 39:20 66:6
   74:22                     silly 20:22 28:12               30:1 32:10,12,17 33:2    supervising 41:16
 schedule 3:5 21:15 23:21    simple 19:7 45:7 69:22          33:14                    supplied 62:16
   28:2,21 31:19 37:18       simplify 75:17               stock 31:14                 support 76:14
   54:6 56:12 57:3 59:3      simply 28:14 46:2 76:10      stone-faced 35:14           supposed 10:18
   83:10,21 84:8             sir 2:4,9 5:11               stop 13:16 53:11            Supreme 7:14 8:4,17,19
 schedules 26:18 27:13       sit 35:13                    story 17:19 22:9            sure 16:17 21:22 49:12
 scope 77:18                 situation 74:17              straightforward 19:7          49:14 64:2 68:19 84:20
 screen 4:21                 smile 35:14                  stream 3:13                   86:3
 seal 65:1                   smoothly 3:16                streamline 70:20            surprise 31:22
 second 2:6,11 40:22         so-called 39:15              stretch 21:7                surrounding 38:2
   62:11 64:5 74:21          sole 42:12                   stretching 21:8             suspect 56:14
 secondly 43:21              solemnly 4:3,7               strictly 18:3               swear 2:13 4:2,4
 see 4:21,22 13:8 14:17      solves 77:16                 strong 14:4                 swift 16:15
   15:9 27:3 29:20 33:3      somebody 25:9 64:22          struck 40:21 42:21          sympathize 59:8
   36:1,14 48:6 51:14           84:9                      structure 55:1              system 3:8,11 69:20
 seek 10:11,13 11:16         soon 68:10 73:8              structured 8:14
   83:20                     sorry 27:6 54:9 56:18        study 56:17,19                          T
 seeking 9:4 33:4 43:16         57:14,15                  stuff 26:20 31:12,22        take 2:13 6:9 7:3 9:19
   72:2,4                    sort 30:3 35:2,19 36:11         48:11,13 53:3 78:8,10      10:2,3,12 11:8 12:21
 seen 5:3 44:13                 43:19 78:2 82:13             79:4                       14:9 15:11 16:11,14
 self-incrimination 51:20    sought 65:12                 stupid 39:18 40:18            17:16 19:6,7,22 20:14


202-347-3700                              Ace-Federal Reporters, Inc.                              866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 35 of 36
                                             In Re: Jeffrey B. Clark
                                                 October 6, 2022
                                                                                                     Page 98

   22:16 24:20 31:5 47:1        20:7 23:18 24:10 28:8     transcribed 16:22           United 7:14
   55:10 64:6 65:1 70:18        30:7 32:6,21 35:1 36:2    transcript 83:16 85:18,21   universe 65:21
   73:3,4 74:18 76:8            36:19 38:6 40:7 41:2      transcripts 12:9,15 17:4    unnecessary 44:2
 takeaways 15:1                 42:1,5 43:10,12 44:9,14     17:5,8 18:13,15 65:19     unusual 22:7 33:15 37:22
 taken 9:21 80:9 88:9           48:4 49:12,12 51:18       treat 51:9                  unwarranted 43:17
 takes 48:9                     52:13 53:9,19 55:12       trial 19:15 24:21 52:3      unwilling 76:22
 talk 3:2 13:20 21:17           56:5 57:19 60:17,20       tried 16:19 21:7 49:18      upset 25:9
   22:18 32:2 33:15 37:16       61:15 62:2 63:11 68:22    trigger 63:2 64:3           use 24:21 67:16 68:14
   53:14,21 67:19 68:3          69:2 70:5 73:19 74:1      triggered 63:21               70:19
   72:9 83:3                    80:12,15,19,22 81:5,11    true 18:12,12 33:12 37:9    useful 14:16 81:6
 talked 24:18 62:6 72:6         83:11 84:17 85:12           50:22 88:5                usually 38:3
 talking 13:12 15:5 16:1        86:18                     truly 55:10
   38:1 46:12 58:8 60:10     thinking 34:19 36:12         truthful 70:7                           V
   68:7 69:5,6,17 70:4,12       55:5 60:9,18 81:3         try 13:19 14:3,8 20:15      vagaries 20:19
   70:13                     third 46:5 71:7                25:11,20,22 26:19 35:7    value 73:3
 team 23:8 25:14             third-party 71:11              35:12 53:16 60:4 67:9     varies 68:21
 technology 3:18             thorough 14:5 16:15            72:15 73:11 74:1,5,7,10   various 34:2 39:15 44:15
 tell 22:9 25:6 73:10,16     thought 24:14 36:5,18          75:4,4 76:5                 44:16,17
   74:5 80:21                   57:13 60:19,22 62:1       trying 11:19 21:1 28:11     vehicle 67:10
 telling 13:11 53:2,12          72:20 79:7                  31:9 42:20 44:9 46:5,9    versus 7:15
   73:14                     thoughtful 47:8                48:14,15 50:22 55:15      video 3:13
 tells 84:9                  thoughts 32:7 37:1 81:20       68:9 82:16                view 55:10
 tend 35:11                  three 15:14 16:3,11 19:8     Tuesday 74:9                views 36:10 81:7
 tender 77:1                    55:7 58:14,15,20          TV 5:17                     violation 39:17 43:14
 tentative 43:10             three-day 22:1               tweak 76:11                   50:11 79:21 80:3
 terms 45:7 69:22 76:16      threshold 6:20 7:7           Twelve 1:8                  vires 7:21
 testify 25:9 28:17 29:5,7   throw 51:14                  two 8:3 13:14 15:14,22      virtual 84:17
   58:3 69:8,11,16 70:1,5    Thursday 1:6 87:7              21:10 28:5 32:3 42:11     virtually 85:4
   70:12 72:11 77:3          tied 36:15                     43:10 45:15 52:15         vis 3:12
 testimony 17:1,3,5 24:22    time 6:1 7:4 10:19 13:18       55:20 56:5 61:7 74:15     voluntarily 69:7
   25:10 28:10 56:7 63:9        14:9 15:4 16:2 19:21,22   two-and-a-half 20:18
   63:10 66:1 79:19,20          20:13 21:2,4 22:6,16        21:11                                W
   88:4,5                       25:21,22 26:1 32:1        type 53:2 83:5,9            W 1:18
 thank 2:12 4:12 5:20           33:19 34:5 35:18 37:13    Typically 86:7              wait 82:22
   11:14,17 14:21 16:6          38:1 53:18 56:13 57:5                                 walk 35:16
   27:14,15 31:16 35:15         57:10,22 58:17 59:22                  U               wall 51:14
   44:6 51:5 52:14 61:21        60:1 66:14 68:9 72:12     U.S 41:12                   want 4:4 6:15 8:8 10:10
   84:12 85:12,14,17            74:7 80:18,18 82:11       ultimately 45:7 75:11        11:8,18 13:19 14:10,12
 then-expressed 18:5            85:15                     ultra 7:21                   18:19 22:5 26:19 28:4,5
 theories 36:16 45:3 47:19   timing 27:16 30:17 34:16     unclear 45:17                31:11 32:4 33:5,21 35:4
   51:1                         74:11 81:16               underneath 22:11             35:5 36:3,4,11,13 37:4
 theory 40:9 43:1            Title 61:5,6,8               understand 6:5,22 10:17      38:5 40:3,4,6,15,22
 thing 15:17 20:11 28:8      today 6:9 48:1 52:17           12:1,11 22:13 31:18        41:2 44:7,10 48:1 53:1
   40:21 42:9 43:14 75:7     told 41:7 42:4 49:17 66:5      36:7 38:10,20 39:1 40:9    53:11 64:4 65:5 66:9,14
   75:11 77:7,19,22 84:14       78:11 84:2                  41:1 44:19 46:11 49:4      70:19 73:1,22 75:3 79:4
 things 12:16 13:16,22       tone 52:16                     50:2 51:1 53:21 55:2       80:11,15 81:12 82:5,6
   21:7,13,21 22:4 25:11     top 38:8                       69:4 70:2 73:6 74:11       82:12,14 83:5,14,22
   26:17 29:22 31:10,11      topic 12:5                     75:3 81:15 82:12,19        84:2 86:7
   31:17 33:17,18 34:2,4     topics 18:16,19 53:22          84:5,7,12                 wanted 2:7,14 9:3,9 13:1
   35:22 36:11 37:18            54:4,21 55:8 65:21 72:9   understanding 25:20          31:20 35:6 42:22 48:3
   38:15 42:20 44:9,12,18    total 20:17                    75:13                      50:20 65:8 76:18 81:18
   51:7 52:12 64:11 67:15    Touhy 13:19 62:12,20         understood 11:4 25:4        wanting 59:9
   73:2 76:8 78:3,13 80:6       63:1,21 64:1,3 65:9         84:10                     wants 42:16 75:5,5
   80:11,18 83:12,13 85:4       69:12 70:2 73:2,19,20     undoubtedly 12:15 43:21     warning 81:19
 think 4:22 8:1,9,10,12      town 68:4                    undue 71:18                 wasn't 40:11,12
   10:4 12:22 14:6 19:17     track 61:19 76:11,12         Uniform 68:14               waste 53:18


202-347-3700                              Ace-Federal Reporters, Inc.                              866-928-6509
   Case 1:22-mc-00096-RC Document 1-53 Filed 10/17/22 Page 36 of 36
                                              In Re: Jeffrey B. Clark
                                                  October 6, 2022
                                                                                      Page 99

 way 14:12 22:9 28:11,18     writing 47:14 48:2           25th 23:22 24:11 25:16
   34:5 41:3 42:2 43:3       written 16:22                  26:4,7,13 27:7,11
   51:16 64:8,20 72:16       wrong 18:8 42:7 71:6         26 60:17,19,21,22 61:22
   76:4 78:17 85:6           wrote 49:15                    62:2
 ways 33:22 43:10 71:10                                   28 60:20
 we'll 26:21 29:8 37:17                 X                 29 30:8
   56:17,21 72:14 77:10      X 42:4
   77:13,17 78:22 80:21      X-prime 42:4                              3
   86:14                                                  3.1 67:3,21 71:9
 we're 13:11 15:5,8 16:1                 Y                3.2 71:12,12,20 74:2
   25:5,20 26:22 27:3        ya'll 72:16                  3.5 74:22
   47:17 49:2 57:12 62:22    yeah 6:3,17 26:8 29:17       30 4:18 27:17 29:10 30:8
   72:8,20 75:21 76:13         34:17 35:1 54:10 58:1        57:9
   78:18 84:8 85:2 87:5        58:18 62:15                30th 25:16 59:2,22
 we've 5:3 11:21,21 28:11    year 15:4 17:2 23:9 62:16    31st 58:22 59:1
   62:5 63:22 80:12          Year's 34:22 58:21           37 5:22
 we-- 32:22                  years 5:22 61:7
 week 5:3 16:2 23:10,13      yes,' 68:20                              4
   23:21,21,22 24:1,3,6,6    yesterday 31:14              45 75:18 76:10
   24:7,8 25:12,14,19 26:6   YouTube 3:14                 47 53:16
   26:10,14,16,19,21 27:1                                 4A 47:3
   27:7 32:4,6 58:21 59:13              Z
 weekend 30:9                Zoom 1:5 24:22 28:18                       5
 weeks 56:5 58:14,15,20                                   5 47:3
 weigh 82:14                            0                 54 44:14
 weight 14:14 69:21                                       5th 59:20
 Welcome 5:4                             1
 welcomed 32:16              10 86:7                                  6
 went 49:18                  100 19:18                    6 1:6 87:8
 whatsoever 17:14            11 2:17                      6th 12:7,22 13:6 17:3
 White 43:12                 11.11 79:19                    30:17 42:4
 win 81:11                   11:14 87:7
 wind 64:8                   11th 30:7                                7
 window 4:20                 12 2:21 54:5 79:3            7 54:12 61:6,8
 wish 35:12                  12/20 54:8
 witness 3:3 27:19 29:10     12/21 54:8                               8
   29:19 30:6,11 57:10       12th 30:5,9,9,12 32:5        8 61:5
   69:15,17 74:18,20 88:5      57:13,15,17,20 58:10       8.4 38:20 39:10
 witnesses 13:3,20 15:22       58:20 59:21                8.4A 38:13
   16:20,21 24:5,7,12,17     13th 25:20                   8.4C 38:14
   25:3 28:15,16 29:5,7      14 54:13                     8.4D 38:15 43:3,14 44:5
   55:17 63:7,19 68:4,15     16 60:8 61:1,15
   70:12                     16th 23:11,12,17 24:2,8                   9
 wondering 5:21 42:7,9       17th 23:19                   9:30 1:6
 word 67:16 71:6             19th 32:4 57:12              9:32 2:2
 words 26:5                  1st 40:13                    9th 24:1,4,6,8 25:12,19
 work 23:21 24:1,1,6,7,11                                   25:19 26:6,10,16,19,20
   24:22 30:4,10 33:21                   2                  26:21 27:1
   37:17 45:3 59:3 61:6,8    2020 40:1
   66:19 67:6 81:4 85:22     2021-D193 1:4
 worked 49:14                2022 1:6 87:8
 works 15:9 26:19            21 28:9,19 29:13 32:11
 worse 83:8                  21st 32:13 54:5,18
 worth 34:5 35:17            22-BD-039 1:3 2:15
 worthwhile 36:8             23rd 59:21
 wouldn't 31:21              25 75:14


202-347-3700                                Ace-Federal Reporters, Inc.              866-928-6509
